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                                       UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERI\ DISTRICT OF ILLINOIS


     Shokr"' L- Zrt,.'                                                                1:18-cv-O2498
                                                                                      Judge John J. Tharp
                                                                                      Magistrate: Judge Jeffrey Cole
Plaintif(s),                                                           Case Numoer:

v.


                                                                                                       RECEIVEY
Defendant(s).
                          fc.&                                                                                   APR    -I      2018


                           ffr                                                                            rHoMAs c. BRUroti
                              'dCrurpr,aINr or           rnnplovu                                                 u'S' DlCi Rlcr 00URT

  l. This is an action for employment discrimination.

 2.    The plaintiff is                       3krakcr l--                     Zt-,h    >                                         of the

 county     o                                                            in the state of               IL
 3.    The defendant is

 street address is

 (citv)   C]lrCo$r (county) CDDK                                       (state)       IL                 (zP) uDu0't
 (Defendant's telephone number)                         (e,tz-)- Lob(?'uq-lq
 4.   The plaintiff sought employment or was employed by the defendant at (street address)

        l2oo            \Al   '   tru \   |on   Markr       l-                             lcityy

      lcounty)         tocK               (state)      lL          (ztP code) UOtoO-lr




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5.        The plaintiff lcheck one boxf

          (a) tr            was denied employment by the defendant.

          (b) tr            was hired and is still employed by the defendant.
               /
          (c) d             was employed but is no longer employed by the defendant.

6.        The defendant discriminated against the plaintiff on or about, or beginning on or about,
                        JulV
          lmonth)'-------a--                 ,   (day)_,                (year)   2olD
7.1       (Choose paragraph 7.1              or   7.2, do   not complete both.)

          (a)       The defendant is not a fedyal governmental agency, and the plaintiff
                    lcheck one boxl Dhas Mhas not fl.Jed a charge or charges against the defendant

                    asserting the acts of discrimination indicated in this complaint with any of the

                    following government agencies                :




                    (i)     E the United         States Equal Employment Opportunity Commission, on or about

                            (month)                          (day)-                (year)-.
                    (ii) E      the Illinois Department of Human Rights, on or about

                            (month)                          (day)-                (year)-.
          (b)       If charges were frled with an agency indicated above,                    a copy    of the charge is

                    attached.    EI Yes, E No, but plaintiff will file a copy of the charge within                             14 days.



          It is the policy of both the Equal Employment Opportunity Commission and the Illinois

          Department of Human Rights to cross-file with the other agency all charges received. The

          plaintiff has no reason to believe that this policy was not followed in this                          case.




7.2       The defendant is a federal governmental agency, and

          (a)         the   plaintiff previously filed       a       Complaint of Employment Discrimination with the

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         defendant asserting the acts of discrimination indicated in this court complaint.

                         E     Yes (month)                                (day)_             (year)

                         E     No, did not file Complaint of Employment Discrimination

         (b)             The plaintiff received a Final Agency Decision on (month)

                         (day)     _           (year)

         (c)             Attached is a copy of the

                         (i)   Complaint of Employment Discrimination,

                               E Yes E          No, but a copy will be filed within 14 days.

                         (ii) Final Agency Decision

                               E Yes E           N0, but a copy will be filed within 14 days.


8.       (Complete paragraph                I only if defendant is not afederal governmental                   agency.)

         (a)
                     I
                    tr         the United States Equal Employment Opportunity Commission has not

                               issued a Notice of Right to Sue.

         (b)     tr      the United States Equal Employment Opportunity Commission has issued

                               a   Notice of Right to Sue, which was received by the plaintiff on

                               (month)                        (day)_                (year)_                 a copy of which

                               Notice is attached to this complaint.


9.       The defendant discriminated against the plaintiff because of the plaintiff s lcheck only

  '      those that apply):
                     I
         (a) E           ege (Age Discrimination Employment Act).

         (b) d           Colo, (Title VII of the Civil Rights Act              of 1964 and42        U.S.C. $1981).



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           (c) d              DisaUitity (Americans with Disabilities Act or Rehabilitation Act)
                         I
           (d)       d        National Origin (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).
                         I
           (e) M              Race (Title   vII   of the civil Rights Act of 1964 and42 u.s.c. $1981).

           (0 tr,I Religion (Title Vll of the Civil Rights Act of 1964)
                         I
           (g) N              Sex (Title   VII of the Civil Rights Act of 1964)


10.         If the defendant is a state, county, municipal (city, town or village) or other local

           governmental agency, plaintiff further alleges discrimination on the basis of race, color, or

           national origin (42 U.S.C. $ 1983).


1   l.    Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims

          by 28 U.S.C. $ 133 t, 28 U.S.C.              $I   343(a)(3), and 42 U.S.C. $2000e-s(0(3); for 42

           U.S.C.$1981 and $1983 by 42 U.S.C.$1988; forthe A.D.E.A.by 42 U.S.C.$l2l17; forthe

           Rehabilitation Act, 29 U.S.C. {i 791.


12.       The defendant lcheck only those that applyl
          (a)  trfailed to hire the plaintiff.
                t
           (b) d terminated the plaintiffs employment.
                       /
           (.) d             failed to promote the plaintiff.
                     I
          (d)      d         failed to reasonably accommodate the plaintiff s religion.
                     I
          (e) Eil failed to reasonably accommodate the plaintifls disabilities.
                     I
          (0 {[              failed to stop harassment;
                     I
          G)       d         retaliated against the plaintiff because the plaintiff did something to assert rights
                             protected by the laws identified in paragraphs 9 and 10 above;

          (h)      tr        other(specify):

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13.      The facts supporting the plaintiff s claim of discrimination are as follows:

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14.      IAGE DISCRIMINATION ONLY) Defendant knowingly, intentionally, and willfully
         discriminated against the plaintiff.

15.      The plaintiff demands that the case be tried by                       a    jury.   /r"rE        No

16.      THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
         lcheck only those that apply)

         (a)             E    Direct the defendant to hire the plaintiff.

         (b)             E    Direct the defendant to re-employ the plaintiff.

         (c)             E    Direct the defendant to promote the plaintiff.

         (d)             E    Direct the defendant to reasonably accommodate the plaintiff                         s   religion.

         (e)             D    Direct the defendant to reasonably accommodate the plaintiff s disabilities.

         (0              {Oirectthe           defendant to (specify):




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             (e)           A    If available, grant the plaintiff appropriate injunctive relief, lost wages,
                                liquidated/double damages, front pay, compensatory damages, punitive
                                damages, prejudgment interest, post-judgment interest, and costs, including
                                reasonable attomey fees and expert witness fees.

             (h)           E    Grant such other relief as the Court may find appropriate.

                        $lilr, 6lrL
                        '(hL f)
                                I
             (Plaintiff s signatur8J
                                                 r,


             (Plaintiffs name)


             (Plaintiffl s street address)



             tcitvl 0h            Cg,tO                  (state)       )u           (zrP)    (fr,087

             (Plaintiff s telephone number)                OlL\ - (tlolo.              U   +-lq

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I
      Shaka Lat'arraklan Zul    u                                  Benet-rts
-     (Clairnant)
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n
      (\fage Earncr)                                               (Social Security Numbcr)
-
I

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-                             JTIRISDTCTION AND PROC]EDTTRAL TIISTORY
f,
I
-     'l'he clitintant filed an application fbr disabilitf insurance benet.tts on July 28,2014. trlleging
--    disabilitl,since July 24,2014. 'l'[ris case is betbre nle on a recluest tbr hearing dated April 10,
t

I
I
      2015 (20 CFR 404.929 et seq.). The claimant appeared and tcstitied trt a heuring held otr August
-     2,2016 in Chictrgo, Illinois. Sheldon Slodki, NI.D. and Ellen Rozenleld, Psy.I).. irrtparlial
      nreclicarl experts. also appearecl ancl testitied at the hearing. ivls. Pamela 'fucker lvits the
I

I
r     vocational expert on the lirst day of the hearing, and IvIs. Cheryl R. Iloiseth rvas the inrpartial
      vocation;rl expert on the second day of the hearing. N,Is. Catherine Iioplio, a non-ittlorrte\'
      clainrant's representative represents the claimant.

                                                         ISSTiES

      'l'lre issue is rvhcther the claimant is disablecl under sr'r,tiolls 216(l) and 223(d) of the Social
      Sectrritv Act. Disability is dcfined as the inability to engage in any strbstantial grrinlirl activity by
      rerson of any rnedically deternrinable ph1'sical or urental irnpaimrent or cotntrination of
      inrpirinnents that ctrn tre expected to rr'sult in death or thirt has ltrstecl or can be expectecl to last
      tbr a continuous period of not less lhan l2 uronths.

      'flrele is an additional issue r,vhether the insured stirtus recluirenrents of section s 2I6(i) and 223 of
      thc Social Security Ar:t are rnet. I'he clzrimarrt's eamings recorcl shows that the claimanl htrs
      accluircd suflicient tluarters of coverage to remtrin insured tluough Dec'.mbcr 3L,2018. 'fhus,
      thc chinran[ ntrst establish clisability on or lrelbre that date in order to be cntitlecl to a pcriocl of
      disabilitv and disability insurance lreueflts.

            revielv of the entire record, I iird that the claitrtant has been disatrled fi'onr Jul1, 21,2011.
      ,A,1ler
      thoughthe clate olthis clecision. I atso tindlhat the iusured status rerluirernents ol'the Social
      Sccrtritt,Act uiere met as of the date disability' is establishecl.

                                                 AI'PLI(]AB[,E LA\\'

      Urrclcr the authority olthe Social Securit), .\ct, the Social Securit'r,.{dnrinistration has
      ,-'statrlished a live-step sequential er,alttittiort procu,s lbr clctc'rnriniug rvhc:lher an intlividual is




                                                     See Ne.xt Page
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Shaka Lafarakhan Zulu (3+3-68-7668)                                                     []agr 2 of'5


disabled(20CFR.104.1520(a)). Thcstcpsarcti.iilorreclinorcler. Il'itisdcterrnirrc,Jtirattlie
claimant is cr is not disabled at a step ofthe evaluation process. the cialuation lr,iltr not go on to
the next step.

At step one, I must detennine whether the clairnant is engaging in substantial gaintirl activit-v 120
CFR -+04.1520(b)). Substantial gaintirl activit)'(SG,\) is dcfined as nork activrlr,'that is both
substantial and gainfi.rl. If an individual el)gagcs in SG^\ he is not disableti regardless ol'hor,l
severc his physical or tnental itnpainnenis are and regardldss of iris age. education. or rvork
experience. If the individual is not engaging in SGA. the anall siri proccods to tirc i;econcl step.

.'\t step two. I must detetmine whether the claiuant has a rneclicalli clrtr"'nuinttrle impainnuitt
that is "severe" or a combination of impairments that is 'ose!'cr-e" (2U CIiR 4f)4. i 520(c)) A,
irnpairrnent or combination of irnpainnents is "severc" within [hr mcaning of the regulations if it
significantly limits an individual's ability to perform lrasic rvork aclivities. Il]t]re clainiant does
not have a severe rnedically determinatric inrpirirment or cornbination of inrptinuents. he is not
clisabled. If the claimant has:l se\Ierc inrpainnent or cotribination ol'irnpainner;ts, the auell'sis'
proceeds to thethird step.

At step three, I must determine r.vhether the clairnant's impairment or corrrhinrtit>rr of
irnpairnrents is of tr severity to meel or medically equal the criteria of an inrpainnenl listed in 20
CFR Part 404, Subpart P, Appendix 1 (20 CFR 404.1520(d), 404.1525. antl 404.1526). If the
claimant's impairment or oomhinaLion ol'inrpaimrents is o1'a scr erity 1o rnect or rnedically erpral
the criteria of a listing and meets the dr-rratiotr requirernent (20 CFR 40-1.1509), the claimlnt is
dis:rbled. If it does; not, the analysis proi,'eecls to the next step.

Betbre considering step four ol'1he setltrential evaluttion pror-ess. I rnusl tirst deternrine ltre
claimant's residutrl tunctional capacity (20 CFIt 404.1520(e))" An individual's resiclual
fi.rnctional capacily is his ability to do physical and nrental rvork activities on a sustainecl liasis
despite limitations fiorn his impainnents. In making this tinding. I must consider all of the
claimant's impairments, including impairments that are not severe (20 CFR 404.1520(e) and
404.1515 SSR 96-8p).

Next, I must determine at step tbur whether the claimant has the residual f,rnctional capacity to
perform the requirements of his past relevant rvork iZO Cf n 404. t 52(i(f)). The terni past
relevant work means work pertbnned (either as the claimant actrially perfbrmed it or as it is
generally performed in 1he national economy) lr,ithin the last 15 years or l5 years prior to the
date that disability tnust be estatrlished. In addition, the rvork nrust have lastecl lorrg enouuh fbr
the claimanl to learn to r.lo the job and have heen SGA (20 CFR 40.1 1 5t10(b) and u[0-1. 1 565 ). If
the clainr:rnl has the residtral Iiurr"licrnal capacity to do his past rclevant u'oLk, thc clailnant is not
disabled. If the clairnant is unlhle to do any past rel*rrallt rvork or does rir:t lral'e any pasl
relevant rvork, the analysis proceeds to the: fifth and lasi step.

r\t the ltrst step of the sequential evaluation process (20 CI,R a04.1520(g)), I ntust tletelrnine
r.vhether the claitnattt is able 1o do any other r.vork considering his resitluai lirncti,-rnal capacitv,
age, eclttcation, aud work experience. lt'the clairnant is atrle to clo othcr uork.lre i:; not disabl*d.
Ilthe clainrant is not ablelo tlo olher rvork iinri rneet.;the'duration requirement, he is clisabled.



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E         Althotrgh    the claiutarlt generally trolltinues t.
                                                                    ha'e the lrurclen olpror,ing disability
          linritecl bttrclen of going tbrw,arrl                                                                  at this step, a
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       3' The clainrattt has the followitlg severe irnpai.,re,fs:                                                                     a


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      evidence shor'r's th:rt these conclitior"rs                                          ailergies a,cr astl,na, the
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      clainranr"s hepatitis ts is not tirniting.
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                                                        ilxhibit     7h.16).

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     sttppottccl try laboratorV testing
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Shaka Lafarakhan Zulu (XXX-XX-XXXX)                                                l'}age 4   ol'5


In considering the claimant's symptoms, I must fbllow a two-step process in which it ulttst first
be deterntined w'hether there is an underlying medically deternrinable physical or mental
impairment(s)--i.e., an impairment(s) that can L,c shown by shown by medically acceptable
clinical or laboratory diagnostic techniques--that could reasonably be expected to produce the
clainrant's pain or other symptoms.

Second, once an underlying physical or mental impairment(s) that could reasonably be expected
to produce the claimant's pain or other symptorns has beetr shown, I mttst evaluate the intensity.
persistence, and effects of the claimant's symptoms to determine the exlent to which they limit
the clairnant's vrork-related activities. F,:r this purpose, whenever statentents about the interxity,
persistence, or functionally limiting eflects of pain or other symptotns are not substantiated by
objective medical evidence, I must consider other evidence in the record to determine if the
claimant's symptoms lirnit the ability to do lvork-related activities.

According to the claimarrt, he stopped rvorking due to his irnpairments, inclttding rnental
clisorclers, cliabetes, hypertension, and HIV. On a scale of not at all consistent, slightly
consistent, moderately consistent, higlrly consistent, very highly consistent and extremel5r
consistent, I furd that the clairnant's statements regarding the intensity, persistence. atrd limiting
effects of symptonrs are moderately consistent r,vith the medical and other evidence of record, as
there is substantial, longitudinal support in the record for his claims ott his mental health issue.
Additionally, the claimant's presentation at hearing strpports significant limitation, as his
testimony lvas difticult to direct and he did not remain focuscd ol1 one topic, an observation
shared by medical service providers in the record.

Regarding the opinion evidence of record, James McCreary, M.D. completed a medical sotlrce
statement in January 2017, opining that the claimant's mental impainnents result in extreme
limitations rnaintaining attention and concentration for extended periods, making sirnple work-
related decisions, r,vorking in coordination with or in proximity to others, completing a normal
workday or rvorkweek, responding to changes in a work sefling, and tolerating normal levels of
stress. (Exhibit 75F). Additionally, Dr. McCreary opined that the claimant has marked
limitations in sustaining an ordinary routine and accepting instnrction. On a scale oflnone, slight,
moderate, good, great, very great and controlling weight, I ascribe great weight to the opinion of
Dr. McCreary as that of a treating rnedical sourcd. Additionally, the prepondemnce of facts
arising from the evidence in the longitudinal record supports that the clairnant is strbstantially
limited in his ability to flinction rnetrtally and thereby maintain hrll-time, conrpetitive
employment.

P.V. Kurani, Ivl.D. also complel.ed a medical source staternent in July 2A17, opining that the
clairnant is "totally disabled." lExhibit 7{3). Although this opinion is on an issue ultimately
reserved to the Cornmissioner of Social Security, I ascribe moderate r.veight to this opinion as
that of a treating and exanrining medical source. Additionally, the opinion is consistent rvith the
ser,*ity ofthe claimant's mental impairrnents shown in the longitudinal medical evidence.

I.astly, I cormidered the opinion evidence fiom State agerlcy rnedical consultants. Dan'ell
Snyder, Ph.D. and David Biscardi, Ph.D. opined that tlrc clainrant has no more than modera.te
mental limitations. (Exhibits 1A 3A). Althouirlr considered as opinions olnon-exarnining




                                            See   Nert   Pzrge
              Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 12 of 68 PageID #:12
                 Shaka Lafarrakhan Zulu         (3.1.1   -(r8-7b(r lt)                                         I)agc ,i of'5


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I                espetl sourLres. I asc:ribe only'slight,,r,eight to these opintous. as ther. are inccusistent         riitli   the
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                 fircls arising ti-om the evidcncc in the longiluclinal ricord.
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 -               .'\ller oonsidcring the evidencc olrecorrl as a w'hole, I tind that the sereritt'of thc clainranr's
I-               irnpairnt"'nts ureetsthe critcria olsection 12.0-1. 'l'he "paraEaph.\" criteria are salisti.'d becarrse
-:
I                the claintaltt has tnetlicallY documentecl chsorganized thinking and clc'lusions. -\ccorclingto an
-                October 2014 exanrinatiot-t report, tl-re cltimant had looscning ot'association. (lirhibit.l8Ir).
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                 Sinrilarly'. according to a Junr:2016 exanrirtation rcpor-t. thc clainrant was tallgcntial. (ltrhibit
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                 22b). Further, Jutre irnd iuir 2016 l.rr'attncirt rccords coutain ot'rservations oldisorganized
                 thinliing and paranoicl clehisions. (ii.r:iribit 22F ).
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                 1'he "paragraph     B" criteria are also satisfied because thc clainrirnt's inrpainnents cause nroclcratc
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                 lintitations iu uuderstanding. renrenrtroring. or applying intbrnration. ntarked limitations in
I                inlcracting r.r,ith others, rnarted lirnitations in concerrtrirting. persisting, or nraintaining pace. ancl
                 ntarked lirnitations in aclzrpting or nranzrging onesell. 'l'h"'se "paragraph B" finclings are
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                 consistetrt rvith the opinion evideuce of recorcl discussecl atrove fi-otn trerting uredical sources.
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                 Itr sunt, the severitl'of the clainraut's impairments results in marl'ecl limitations ancl ureets thr'
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                 criteriarof listing 12.03. 'Ihis tmding is consistent uiththe longituclinal rrreclical evidence of
E =              record ancl thc opinion evidencc fi'our treating and cxaruining nreclical sollrces.
= -
                 5.  'ilre clainrant has been untler a disability irs defined in the Social SecuritS'.\ct since
                .Iuly 2-1,2014, the rrlleged onset date of disability (20 CltR {04.1520(d)).

                                                                         DIICISIONr

                 Basccl otr the application tbr a period ot'disability'ancl clisabilitl instrrluce bcnetits filed on.luty,
                 28.2014, the claitntrttt ltas been clisablecl uncler sections 216(t) and 223(d) of the Social SecLrritt'
    l!
                 Ac't sinr-:e July 2-1, 2014.

    F            lt is recottttnended thal a cletennination be urade corrcerning the tppointnterrt ola            l'cpresL'ntative
                payee r.vho can ulallilgr. pzryrnents in the i:lairtrant's iuterest.




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   Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 13 of 68 PageID #:13



                        SOCIAL SECURITY AD MTNISTRATION                                                                           a
                          Ollice of Disabiliti .-\djudication irnd It*ieu'

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(Clairnant)                                                                                                                       b
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(\l,'ag"'Earner)                                                 (Social Security Number)

I approve the fee agreement betlveeu the clainriurt and his rcpresentativc subject to the conclitiorr
tlrat the clainr results in past-due berrcf-rts. N[1'detennination is lirnitecl to u'lrelherthe lee
agreeuretrt nreets the statutorY r:onclitions fbr appror,'al and is not othcrr,lise e.xcepted. I neither
appro\-e nor disapprove iur\,' other aspect olthe agrcenrent.


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r.vrite us u'ithin 15 clays li'onr the clal'r'otr get this order. I'ell trs that 1,ou disagree r.r,iLh the
approval of'thr: agreetttenl aurl give volrr rL'asons. \'our represcutatil'e irlso has 15 claVs to rvritc
trs if he or she cloes uot agr-ee rvith thc approval o['thc f'ee agreeurent. Send your rccluest to this
addrcss:
                        Shen'y,D. Thonrpsorr
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                        200 W Aclams St
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        Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 14 of 68 PageID #:14


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          tihalia l-,afarrak.han Zulu (]43 -68-7668)                                                  Page 3   of3

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 Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 15 of 68 PageID #:15


                    TRANSMISSIDN VERIFICATION REPORT

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                                                                                       NAME          HEAD&NECK COSMETIC
                                                                                       FAX           7732963866
                                                                                       TEL           77329655AA
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                        Trr.epHoNs(312)630-M97.FAcsrMrE(3121630-9281


                                     November 6,2017




VIA HAND-DELIVERY
Shaka Zulu
3t2-772-1631

Dear Mr. Zulu:

        This letter is to confirm that this firm will not represent you for reasons discussed
during our consultation. Please keep in mind that since we are not representing you, we
will not be monitoring changes in the law or your circumstances that may affect the
strength of your matter.

       Further, as discussed, statutes of limitations may affect your matter; therefore, we
urge you to contact another lawyer immediately if you wish to pursue your matter. If you
have a potential claim, your failure to follow up with another attorney may result in your
matter being forever barred by specific time limitations on filing an administrative charge
or complaint in court.

       If you wish to follow   up with another attorney, we suggest you contact the
Chicago Bar Association's referral panel at (312) 554-2001or check the attorney profiles
on the National Employment Lawyers' Association website at NElA-Illinois.ors.




                                      %4
                                                Sincerely,




                                    Elizabeth A. Gorge
Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 17 of 68 PageID #:17
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             Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 18 of 68 PageID #:18
                         ATTORNEY REGISTRATION AND DISC IPLINARY COM M IS S ION
                                                of the
                                     STIPREME COURT OF ILLINOIS



                                       REQUEST FOR INVESTIGATION
Use this form to request an investigation of:
1) an lllinois lawyer;
2) a non-Illinois lawyer who has provided legal services in lllinois; or
3) a non-lawyer who you are claiming has engaged in the unauthorized practice of law in lltinois.

Return the completed form by mail or facsimile to:

         ARDC                                                      ARDC
         130 E. Randolph Dr., Ste. 1500                            3161 W. White Oaks Dr., Ste.30l
         Chicago, IL 60601-6219                                    Springfield,lL 62704
         Phone: (312) 565-2600 or (800) 826-8625                   Phone: (217) 546-3523 or (800) 252-8048
         Fax: (312) 565-2320                                       Fax: (217) 546-3785


1.   Your narne:
Street address:

City:                                              State:                           zip:
Home phone:                            Work phone:                             Cell phone:
E-rnail address:

2.   Name of lawyer/person you want to be investigated:

Name of law finn or business:

Street address:

City:                                              State:                           zip:
Phone:

E-rnail address:


3.   Have you previously contacted tlie ARDC regarding this   rnatter?   Yes                 No

If yes, when and how did you contact    us?


4. Did you ernploy the lawyer/person you are complairring about:         Yes               No

4a. If you answered yes to question 4:
  When did the ernployrnent start?

  What was the fee agreernent?



  How much have you paid the lawyerlperson to date?
            Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 19 of 68 PageID #:19
4b.   If you answered no to question 4 what is your connection to the lawyer/person?




5.   If your request   relates to a court case or other proceeding, please provide the following:

Name of court or agency:

Name of case:

Case number:


6    Please explain your complaint(s). Include irnportant dates and nalnes of witnesses and others involved.
     Use additional pages if necessary. Attach copies of documents that support your complaint, such as fee
     agreements, receipts, checks, letters and court papers.




Signature:                                                             Date:
                Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 20 of 68 PageID #:20
                           ATTORNEY REGISTRATION AND DISCIPLINARY COMMISSION
                                                 of the
                                       SUPREME COIIRT OF ILLINOIS



                                             REQUEST FOR INVESTIGATION
 Use this   form to request an investigation of:
 1) an Illinois lawyerl
2) a non-Illinois lawyer rvho has provided legal services in lllinois; or
3) a non-lawyer rvho you are claiming has engaged in the unauthorized practice of law in lllinois.

Return the completed form by mail or facsimile to:

         ARDC                                                              ARDC
         130 E. Randolph    Dr., Ste. 1500                                 3161 W. White Oaks Dr., Ste.301
         Chicago, IL 60601-6219                                            Springfield,lL 62704
         Phone: (312) 565-2600 or (800) 826-8625                           Phone: (217) 546-3523 or (800) 252-8048
         Fax: (312) 565-2320                                               Fax: (217) 546-3785


1. Yourname'                ShOka                  L.    Zu\t->
Street   address: Lo\O\         F- tpg +7l         :L            :sq oL
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Home phone:                                  Work phone:                               Cellphone: eiZ.      f ?f,.9gE(
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2,    Name of lawyer/person you want to be investigated:

Name of law firm or business:

Street address:

City:                                                   State:                             zip:
Phone:

E-mail address:

3.    Have you previously contacted the ARDC regarding this             rnatter? yes              No
If   yes, when and how did you contact us?


4. Did you employ the lawyer/person you are cornplaining about:                 yes               No
4a. If you answered yes to question 4:
     When did the employment start?

     What was the fee agreement?



     How much have you paid the lawyer/person to date?

                                                                 over
             Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 21 of 68 PageID #:21
4b. If you answered       no to question 4 what is your connection to the lawyer/person?




5.   If your request   relates to a court case or other proceeding, please provide the following:

Name of court or agency:

Name of case:

Case number:


A    Please explain your complaint(s). Include important dates and names of witnesses and others involved.
     Use additional pages if necessary. Attach copies of documents that support your complaint, such as fee
     agreements, receipts, checks, letters and court papers.




Signature:                                                              Date:
  Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 22 of 68 PageID #:22




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August 19,2014

Matt Lundgren
Operations Manager
Cook Dupage Transportation
t200 W. Fulton
Chicago, Illinois 60607

Dear Mr. Lundgren:

This letter will confirm Maurjce Sanders' e-nraii rsgarding Cook Dupage Transportation driver,
Shaka Zulu. (S.S.# ***-**-7668). Effective immediately, this individual is not ailowed to
perform any safety sensitive function relating to the operation of a Pace vehicle or Pace service.

As was discussed, Pace has no interest in the manner in w'hich Cook Dupage Transportaion
performs its busincss or oversees its employees except as such matters impact upon the delivery
of Pace mass transit service to the general public. Nor is Pace intent upon establishing any terms
or conditions as to this individual's continued emplolment as Pace is not the employer.

Please provide Pace   with written verification of Shaka Zulu's removal (termination) t'rom                  Pace
Paratransit sen ice within seven (7) days.

If you have any questions or require any additional information,       please feel free to contact me.




        %*f0,* SlW
Sincerely,




Mary Ann Schultz
Acting Department Manager
Safety, Training, and Security

C:     M. J. Metzger, Deputy Executive Director, Revenue Services
       T. Groeninger, Regional Manager, ParatransitA/anpool
       R. Poland, Assistant Division Manager, Chicago ADA Serv'ices
       S. Williams, Division Manager, Chicago ADA Services
       M. Sanders. Manager. Qual ity Corttrol/Contpliance
        Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 23 of 68 PageID #:23
rlr

                       The Local Advisory Council (LAC)
                                             And
                       The Central Advisory Council (CAC)
                                 Invites All Tenants

                          To the Tenant Services Meeting
                        On WednesdaR February l4,20LB
                                             At
                                Wentworth Gardens

                              3770 S. Wentworth Ave



                             9:00 a.m.   -   Closed Session

                          10:00 &.rn.   - AII Tenants Invited
      (Mixed Finance, Scattered Sites, Housurg Choice Voucher (Section 8),
                  Project Based Voucher and hrblic Housiru)

      Chicasp HousingAuthority, HCV Shfl and other agencies will be in
                                attendance.

       Auend tI is meetins to voice your concerrrs and leam what changes,
          actions and/or activities are going on at HUD and the CHA.

                             The Local Advisory Council
                            The Central Advisory Council


         The March t4,20tB Tenant Service Meeting will be held at

                      CYC   Building (Altgeld Garden Homes)

                                 951 E. 131't Place
        Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 24 of 68 PageID #:24




> Have concerns/issues regarding the Security firm
  where you reside?
F Do you have ideas to help improve the quality of
  the safety in your building or development?
) Want to learn about the Code of Conduct for
  Security and learn about lncident Reports?

 The Central Advisory Council invites AtL Public Housing
 residents to attend the monthly Security meeting where you
 will get the opportunity to express those concerns with top
 managers of those security companies along with the
 Chicago Housing Authority's (CHA) Director of Safety and
 Security Anthony Powell. This month's meeting information
 is as follows:


  When: Thursday, Febru ary 15,201-8
  Where: 243 E. 32nd Street, Chicago, lL, 60616
  Time: L:00pm
                    Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 25 of 68 PageID #:25



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                                           EMPL OYMENT YERIfl CATION

       The Chicago Housing Authority is a federally funded housing agency assisting qualilied families with rent subsidies.
       The above-named person has authorized the CI#L or its agents, rqrese,ntatives and/or contractors to verify
       information regarding his&er emplo5a::.ent. P1ease complete this. fonn and      it to us as soon as possible. Thank
       you

       To:

                                                                                 ssN:  ){5 - 6Y -n'<?
                                                                                       c/J5 * vr?? cz 5,5,ft
       Irauthorization of this information, I have released you, your organization or others from any         liability or
       damage, which may result from funrishing the irformation requested.




       1. Empioyed Since:                                              2. Job   Title: 0riu er
       3. Salary,   BasePayRate:$-/1--Z{-perhour                            hrs/week, or                 hrs/month in yr.

       4. Average hours worked at Base PayRate:                       hrs/week, or                    hrs/month iir year.

      5. Is this person likely to get Overtime? D Yes E tlNo                    If   yes, Overtime PayRate   $],L_{U fu.
      6. Average nurnber of Overtime hours expected during the next 12          months: -           IIrs/ Month.

      7. Aay other compensationnot listed above? Please specifyfor commissions, bonuses, tips, etc:?
      For $_____'- _______:_ per


      8. Is pay received for vacation?   nffies L I    No If yes, number of days/year:


      9. TotatBase PayEamings for last 12 months:        $ 2e , a I ( .tl
      10.   Total Ovefi+eEamings for the Iast L}months: g t              ,f g
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YARNING! Title 18, Section 1001 of the United States Code, states that a persoi
ra&es false fraudulent statements to any deparhent or agency of the United States Government is guilty
Account Summary                                                                                           Page I
                                  Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 26 of 68 PageID #:26                                                                                                ofl


                                                                               Choose us fur your Mortgage Loan.                                                                            "tfix
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                r'       Savinos 50             IRA Traditiona (REG)                                   $1,m0.25          $1,000.25                Transfer       Resel



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    ,       ?        Ceftificate Accounts


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                Certificate 2
                                           Certificate    $1,003.41    o2l2rl20L4 02/21/2OL8                  Fixed           $3.41

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                Certificate 3                                                                                 Fixed



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    i       ?       Credit Card Accounts

            CardNumber
                    t                           Des€rlptlon            As Of        Due Date                Limit         Balance

            /" grsdlt-Card                     VISA PLANNUM         06lo2l20t4 06/2U2Ot4              $3,s00.00              $0.00
            xxxx 00255

               Credit Card                                          06lo2l20L4 06127/ZOL4
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            xxxx
                                               VISA PLATINUM                                          $3,s00.00              $0.o0

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               Crcdltsard                      VISA PLANNUM         06/09/2OL4     06/zil20L4         $s,000.00         i3,268.32
            xxxx 15586


                                                                               Unauthorized attempts to access, upload informatron, or deface thrs vJeb srte is strictiy prohibited and are sublect to prosecu:ron
        EJr-rhrl*.-                                                            under the Computer Fraud and Abuse Act of 1986 and Title 18 U.5.C Sec. 1001 aod 1030.
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htps://virtuoso.creditunionl.org/ISuite5/Featues/AccessAccounts/Accountsummary                                                                                                  lAcc... 612lDAA
                   Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 27 of 68 PageID #:27

     Social Security Admin istration
     Please read the-instructions before completing this form.
     Name (Claimant) (Print or Type)                                                        'Number
                                                                                            3rlE-
     Wage Earner (lf Different)                                                   Security Number

     Part   I
     I appoint this individual,
                                                                            (Name and Address)
     to act as my representative in connection with my claim(s) or asserted right(s) under:

      !         ritr" rr (RSDI)   [(ri,r"    xvr (ssr)          E    ritre XVnt   (Medicare)                     E   ritre   vlt (svB)
     This ind.ividual may, entirely in my place, make any request or give any notice; give or draw out evidence
     lnformation; get information; and receive any notic-e in bonnecti-on with my penO"ing ctaimis) oi;;;r[d
                                                                                                                       or
                                                                                                                     rig-ht(.).
       f] I authorize ihe Social Security. Adm.inistration to release information about my pending claim(s) or asserted
           right(s) to designated a11c1;!9s.wno perform administrative outieJ
                                                                                  te'g.'iteixil, pirtiers,'aio-loi partidi-'
           under contractual arrangements (e.g. 6opying services) for or with niy rtpreseilt'aive
       fl I appoint, or I now have, more than one representative. My princioal representative is:




                                                                    EPTANCE OF APPOINTMENT




                                               I   I am a non-attorney not eligible for direct payment.
I am now or have previously been disbarred or suspended from a court or bar to which
                                                                                        I was previously
admitted to practice as an attorney.
                                     E yES n NO
I am now or have previqusly been disqualified from participating in or appearing before a Federal program
                                                                                                          or agency.

!
                                               fIYES nNo
 declare under penalty of perjury that I have examined all the information on this form, and on any accompanying
:B!9rng4s_9lJorms, and it is true and correct to the best of my knowledqe.
 Signature (Representative)



            311-
Part lll                                                 FEE ARRANGEMENT
                                                 (Se/ecf an option, sign and date this section.)
      I am charging a fee and requesting direct payment of the fee from withheld past-due benefits. (ssA
tr   fee unless a regulatory exception appties.)
                                                                                                                              musf au thoize the

tr    I am charging a fee but waiving direct payment of the fee from withheld past-due benefits
      request direct payment. (SSA musf authorize the fee unless a regulatory exception applies.)                 -l do not qualify for or do not
n    I am waiving fees and expenses from the claimant and any auxiliary beneficiaiies
     that my fee will be paid by a third-party entity or government agency, ano t at the claimant           -By checking this block I certify
                                                                                                               and any auxiliary beneficiarLs
     are free of all liability, directly or indirectly, in whole or in part, to pay any fee or expenses to me
                                                                                                                      or anyone as a result of
     their claim(s) or asserted right(s). (ssA does nof need to authorize the fee if a third-party entity or a government
                                                                                                                               agency wilt pay from
     its funds the fee and any expenses for this appointment. Do not check this btock if a third-pafty
                                                                                                       iniividuat wiil pay the fee.)
     I amwaiving^fees from any source --l am waiving my right to charge and collect iny
tr   (clx2) of the social Security Act. I release my clienl and any auxiliary beheficiaries from any
                                                                                                          fee, under sections 206 and 1631
                                                                                                                obligations, contractual or
     otherwise, which may be owed to me
                                                  tor services provided in connection with lheir claim(sj or alserted rigfrt(s). \
Sig natu re (Representative)

Form SSA-                   14) eI (07-20
                                Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 28 of 68 PageID #:28
                                                                                                                  tlcalth & I{ospitals Systcm Board ltcmbcrs
            'l'oni Preckwinkle' Pt esiclerrt                                                                              Conrnrissiotrcr ),:rr'1' llutli'r'
      t-lool; ('tltrnt)' lirl.tltl ol' Cotnlrt issionct   s                                                                    l).rr itl L'arr.rlh,;
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           Jorgc Ranrircz' .\ctirtg, Clirirnran                                                                                klr.''altl L. i\'li<'tract
  r..lirrrk (.outrty I lr:alth and IIospitals S1:;t"nt                                                                    Ilo.. (alvin S, \l,.rllis, l)irl)
                                                                                                                                l.tris l\{unoz.lrl[)
 tlnnr llrrjrr l\tD, i\tB.'\, ITACS, FACIIE' t 11()                                                                          I   lt:atli,.:r' l:.. ( )'l )r:rrrreli
 (.ool ( r-rttlrfr I leaith arrcl I lospit,rls Si si:t'ttt                                                                       Carulctt Vcl,ts.lrtcz-
                                                                                                                             l)orr'ttt' ll. \'Vit'sc, Phlt
l'hont:ts J. Dohrn,     tlB.\, F'\CllE' Interim               COO
          Provident HosPital ofCook CountY




      LegalAssistanceFoundationofMetropolitanChicago
      120 S. Lasalle St., #900
      Chicago, lllinois 60603
      (312) 341-1070

      10113115

      Ttr   i\'lroni ii l/iaY Corrcern:

      lvlr. Shaka Zulu (DOB: 03/0g/66) has been a patient
                                                            in mental health services at tlris hospitai since 1999'
                                                                      Kemp, MA for 16 years until March 2015'
      He met with his former mentar hearth irrerapist, Ms. Micheile
                                                                  Ms' Kemp's departure' He met with me on:
      Mr. Zulu has been meeting with me atthis irospital since
       o5l1gl15, 06/1 6t15, 07 t14t15, OBt11ilS, ognslt s ano
                                                              today. He.discussed his beliefs regarding his
                                                               and housing organizations, his history of sexual
      rights being viorated by his famiry, previous emproyers
                                                            wiil continue meeting with me to address his
      abuse and probrems with famity members. Mr. Zuru
                                                                     status, and ottrer issues associated with his
      progress towards r,i. t,"r"py goars, physicar and ernotionar
      irrnlty, income, employment and housing situations'

      lfyouhaveanyquestions]canbecontactedat(312)572-2416.



      Sincerely,



       Mason KellY, LCSW, CADC




                                                                                                  I




                                                                    ,,We Bring Health".:1   .:   to Your CommunitY"
     Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 29 of 68 PageID #:29


                           P.V. KURANI, M.D., S.C.
                         2I4OW. FOSTEIT AVENUE _ SUITE 2I I
                                 CHICAGO,IL60625




                         24 HR.PHONE 7731561-7700
                             FAX773 561-5624




7   /14117

RE; SHAKA LAFARRAKHAN ZULU
AKA: ERIC WASHINGTON

FCfu',,IAL CON{PLAINT
OFFICE OF DISABILITY ADJUDICATION AND REVIEW BOARD
RESTITUTION CLAIM OF 20 YEARS OF UNPAID BENEFITS UNDER MENTAL DISABITY. 30
YEARS INCORRECT SOCIAL SECURITY CHILD I]ENEFITS AND 5I YEARS OF UNPAID
BENEFITS UNDER PHYSICAL DISABILITES

TO WHOM THIS MAY CONCERN;

THIS IS TO STATE THAT SHAKA ZULIJ AKA ER1C WASHINGTON IS UNDER MY CARE SINCE
712412015. HE STATED HE WAS BORN PREIdATIJRLY WITH BIRTH DEF-ECT IN WHICH HE
REQUIRED SPECIAL NEEDS AS A CHILD WITH EDUCATION AND PHYSICALLY. HE CLAIMS
FROM THE AGE OF 8 TO 17 HE WAS A VIC"TIM OF SEXUAL ABUSE AND HAS BEEN
DIAGNOSED WITH HIV 1993 AND TREATED IN 1978 AND HAS BEEN UNDER CARE OF HIV
CLINIC FOR MEDICATIONS.

HE HAS ASTHMA, BRONCHITIS, CANCER OF NOSE, HYPERTENSION, SINUSITIS AND HIV.

TIE IS BEING SEEN BY TWO PSYCHATRISTS , PSYCHOLOGIST, NEUROLOGIST    ,
NEUROSURGEON,ENT,CARDIOLOGIST AND HIV SPECIALIST.

HE IS TOTALLY DISABLED AND HIS CASE SHOULD BE REVIEWED BY APPROPRIATE
EXPERTAUTHORITIES FORHIS MEDICAL AND MENTAL ISSUES T\ND ISSUES RELATED TO
THE TIME AND EXTENT OF DISABILITY AND TO GET HIM ALL THE HELP"HE CAN GET TO
I-IVE.

PLEASE REVIEW ALL HIS DOCUMEN'|S RECOIIDS TO SUPPORT HIS CLAIM   .




THANK YOU


PV      KURANI M.D.
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March 19r 2018
       ATTENTION ALL ADA S. MGKINLEY
               APARTMENTS

PLEASE BE ADVISED THAT THE GOLDEN
DINER WILL BE GLOSED ON TUESDAY, MARGH
2Or 2018 DUE TO THE PROPERTY BEING A
POLLING PLAGE FOR THE PRIMARY
ELEGTIONS. THERE WILL BE NO LUNGH
SERVED.

THE GOLDEN DINER WILL REOPEN ON
WEDNESDAY, MARGH 20, 2018'

SORRY FOR ANY INGONVENIEGE THIS MAY
GAUSE.

NEENA WILLIAMS, PROPERTY MANAGER
WGDG-ADA S. MGKINLEY APARTMENTS




                    Committed to Serving Fumilies and Building Communities
  Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 31 of 68 PageID #:31




                                   ,H:ff,ffiT::I#IH:,'
MARCH      1.9, 2OI8



 ATTENTIONALL RESIDENTS OFADA                                                  S.
              MCKINLEY APARTMENTS

    IT HAS COME TO MAI\TAGEMENT
  ATTENTION THAT RESIDENTS ARE
 DISPOSING I-ARGE BOXES INSIDE THE
                       TRASH CHUTE.

 ALL LARGE BOXES MUST BE BROUGHT
   DOWN TO THE FIRST FLOORANID
 DISPOSED INSIDE THE LARGE TRASH
 RECEPTACLES LOCATED IN THE REAR
   RESIDENT PARKING LOT OFTHE
                           PROPERTY.

  THAI\K YOU IN ADVANCE FOR YOUR
                       COOPERATION!
NEENAWILLIAMS
PROPERTYMANAGER
ADA S. MCKINLEY APARTMENTS


                     Committed to Serving Families ancl Building Communities
                        Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 32 of 68 PageID #:32
Reg.#
                           LANDLORD'S NOTICE AND DEMAND FOR RENT
                                 CHICAGO HOUSING AUTHORITY
                        WOODLAWN COMMUNITY DEVELOPMENT CORPORATION

DE*EL.PMENT                 *o. 5 t/o 2'8                                                                               cLrENrNo.
                                                                                                                                             '7   ts ( gar
l.            You occupy thc described prcmises ogcther with closcts, laundry room, pcranbulator rooms and othcr rcoms and spaces uscd in conncction with said prcmirs, for
              which thC monthly rental payable in advancc is:

                                                                                                  ,       l'/B'oa
                                                                                                                          q y, ri[
2.            YOU ARE HEREBY NOTIFIED T}IAT THERE IS NOW                  DTJE   TIIE LANDLORD TTIE SIJM OF $                                                              BEINC
              RENT FOR ABOVE DESCRIBED PREMISES.

              You are notified that paymcni of said sum so due is demanded of you. Unless payment is made on or beforc tl,re expiration- o,f l4_days after the datc of scrvicc of
              the Noticc, your lease- oi the premises will be terminated on the day following the expiration of said 14 days after scrvice of.this. Notice upon you andyg  !
                                                                                                                                                                          y-tll
                                                                                                        as you wish and 0re right to a heariag in accordancc with ftc Rcsidtot'r
                                       -Or.rLY on that date. You have the right to make such reply
              required to vacate said premises
              Grievance Procedures.             FULL PAYMENT OF THE RENT DEMANDED IN THIS NOTICE WTIIIIN THE SAID 14 DAYS WII.I                                       WAI-  THE
              LANDLORD'S RIGIIT TO TERMINATE THE LEASE T,]NDER TTIIS NOfiCE, I.JNIESS LANDLORD AGREES IN WRITING TO CONTINTJE TIIE LEASE
              IN EXCHANGE FOR RECETVING PARTIAL PAYMENT.

4.            Resident shall have the right by appoinrnent, prior to any hearing or trial ro examine any rclevant documents, rccords or regulations directly related to thc cviction
              at thc residcnt's development offtce.



Dated      this                                                     1il                ur,
                                                                                             ",
                                                                                                            ALLUNKNOWn-         OCCUPANTS                   ,.
                                                                                                             6ct €.6tilSk"o(* 7oL
                       larvn Community Development Corp., as agent for
                                                                                                            cHrcAGo, 606j2ILLINOIS
                            Chicago Housing Authorit;-', Landlord




Dated this


(1)    f      PERSONAL SERVICE - By delivering a copy to the named resident
                                                                                                      lh^b^ Z, lu
(2)           SUBSTITUTED SERVICE - By delivering a copy of the same to                                                          , an adult, aged 18 or older, residing in the
              dwelling.
      -
(3)           MAILED SERVICE - By sending             a copy   of the notice to the resident by certified or registered mail, with      a returned receipt   from the addressee.
                                                                                                                 ATTEMPTED SERVICE
  -
(4)-          POSTED SERVICE.                                                                     DATE                   TIME

ADDMONAL REMARKS:
                                                                                                      zhlre              /6    i"s                lpnr'a
                                                                                                                                                  AM/PM

                                                                                                                                                  AM/PM



      Under penalties as provided by law pursuant to Section l-109 of the Code of Civil Procedure, the undersigned certifies that the
             ts set forth in this Certificate of Service are true and correct.



      Signature of Server
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The Cook Gounty Sheriff's Office
    invites you to attend the




Senior Gitizen Safety Awareness &
 Crime Prevention Presentation
         *    Learn How to Protect Yourselffrom Crime                 *
              *                                 *
                  L"rrn How to Avoid Identity Theft
              *    Understand Con Games & Scams *


             Tuesday, March 27
                1:30 P.M.
 To register or receive more informatioh,
    Gontact Mr. Bridgemon at 773-447 -3286

                            Hosted at
Ada Dennison-McKinley Senior Apartments
    661 E. 69th Street in Ghicago
  Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 34 of 68 PageID #:34




                        ,H:,HffiT8:ffiil[:,-




ATTENTION ALL ADA S. MCKINLEY APARTMENT RESIDENTS
   PLEASE BE ADVISED THAT A RESIDENT MEETING IS
SGHEDULED FOR THURSDAY, MARCH 22,2018 AT 3:3O PM
 TO DISGUSS THE REVISED GHA RESIDENTIAL PARKING
 PROCEDURES. THE MEETING WILL BE HELD INSIDE THE
                  GOLDEN DINER.


                             THANK YOU,
      NEENA WILLIAMS, PROPERTY MANAGER
   WGDC/ADA S. MGKINLEY APARTMENTS - REGION 3
                     Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 35 of 68 PageID #:35




     CHA RESIDENTIAL PARKING PROCEDURES                                                                                   ,1ilil
                                                                                                                          cH/r

 I   alcrenouNo
 I

     A uniform parking policy will increase transparency and consistency across properties with onsite parking.
     The following information is part of an overall review of procedures issued to Property Management by
     the Chicago Housing Authority (CHA) Property Office Department.

     Prior residential parking procedures were at the discretion of onsite property management with general
     CHA guidance   provided via the Procedural Manual (Chopter 2, Section 7, Port 3/ which states:
              The Property Monoger sholl recommend oppropriote parking procedures (including the use of decols/parking
              permits, towing, etc.)to the PortJolio Manoger. Upon approvol by Property OJfice, residents should receive
              notice of the procedures ond ollowed 30 doys to comment. After the appropriote time has lapsed, Property
              Management sholl enJorce those procedures. All resident and non-resident vehicles should be porked in
              occordance with those procedures.



lrrro,r*             PRocEDUREs
     1.   Residents must obtain residential parking permits, through the Property Management Office, to legally park in
          CHA parking lots.
     2.   Only vehicles owned by leaseholders or other authorized adult household members will be allowed to register and
          receive parking permits. At no time will parking permits be issued for vehicles owned by non-household members.
 3.       The vehicle will be inspected before issuance of a parking permit.
 4.       The following documents will be required at time of registration:
              .    Valid driver's license
              o    Valid vehicle registration
              r    Current city window stickers and state plate stickers
              o    Proof of current automobile insurance coverage
 5.       Parking permits must be displayed in the front window of the vehicle and clearly visible at all times. The parking
          permit decal must be affixed, unobstructed, in the lower right- hand corner on the front passenger side of the
          windshield. The use of scotch tape to affix permit decal to windshield is prohibited. The parking permit (sticker) must
          be permonently affixed to the windshield.
 6.        Parking permits will be limited to one per household.
 7.       Property Management will distribute parking permits to all residents that have requested a permit and have
          successfully provided all documents required at time of registration as outlined under detailed procedure #4.
 8.       Renewal of parking permits will be completed at the time of recertification.
 9.       When requesting replacement parking permits, the leaseholder must sign an affidavit acknowledging that the
          old permit will be voided. Any vehicle displaying an invalid permit will be subject to towing at the owner's
          expense.
 10. Use of parking spaces by Property Managers and/or Key CHA personnel will require approval by Property Office.
     CAC/LAC/PPM/MgmI. decals will be available for distribution by Property Office, pending approval.
 1L. There will be designated parking spaces for car sharing programs at select CHA properties. See Cor Shoring Progrom
     for more detail.
 12. Parking permits and approved onsite parking will be free of charge.

 Size and Weisht Limits
          .   Trucks over five (5) tons, trailers, and boats will not be permitted in the parking lot at any time.
          .   Motorcycles are considered as an automobile and must meet all parking criteria. There will be no additional
              parking permits issued for motorcycles if a permit for an automobile has already been issued for the household.
              Conversely, no additional parking permits will be issued for automobiles, if a permit for a motorcycle has already

UPDATED BY CHA PROPERW OFFICE:2015 PROCEDURES WERE        IN   PLACE PRIOR TO   2077 REVISIONS.
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             been issued for the household.

  Enforcement and Towing
      o The parking lot will be monitored by security and management staff.
      r Non-operable vehicles or vehicles with flat tires will not be permitted to remain in the parking lot.
            o Owners will be issued a notice of violation. The vehicles must be repaired or removed within five (5)
                days of the notice or are subject to being towed at the owner's expense.
        o    OwnersofvehicleswithoutavalidCityand/orStatestickerwillreceiveanoticeofviolation.                  Ifthesituationis
             not rectified within thirty (30) days of the notice, the vehicle will be subject to towing at the owner's expense.
        o    ln addition to the aforementioned violations, a vehicle may be towed from a CHA parking lot when:
                 o The vehicle does not have a clearly visible and valid CHA residential parking permit.
                 o The owner has been issued three (3) notices of violation for an expired permit and the owner has not
                       responded within the timeframe allotted on the third notice.
      r      CHA contracted towing vendor(s) shall tow and release vehicles in accordance to their executed contracts.
             Contract details include specified guidelines for which towing unauthorized vehicle's is permissible.
      r     Towing vendors are authorized to patrol CHA parking lots 24hrs a day, seven days a week.
      r     Towing vendor information must be posted and must include:
                 o Towing vendor name, address, city, state, zip code, phone number, hours of operation and the cost of
                      tow service charges.
      .     Any leaseholder or authorized household member in violation of the aforementioned rules will be subject to
            termination of parking lot privileges in accordance with CHA Residential Lease Agreement Section 8 (k).
      o     CHA is sister agency of the City of Chicago; as such all vehicles on CHA lots are subject to City of Chicago parking
            andvehiclerulesandregulations. VehiclesmayalsobebootedortowedbytheCityof Chicago.

 Parkine Lot Rules for Residents
     r      Parking will be available on a first come, first served basis. There will be no assigned parking spaces.
     .      Vehicles shall be parked within designated, striped areas, where applicable.
     o      Repairing of vehicles / washing vehicles in the parking lot will not be permitted at any time.
     o      Loitering and the consumption of alcohol or illegal substances will not be permitted in the parking lot.
     .      Children are not allowed to play in the parking lot.
     .      This policy does not cover off premises parking, however, the following is intended to be a universal
            understanding; residents, permitted staffand visitors are not allowed to obstruct exits and entrances, impede
            designated loading and un-loading zones and park in spaces designated for people with disabilities without a
            placard or designated disabled license plate.

Visitor Parking
    o     Parking slots are solely for the convenience of residents, however, daily visitor parking may be permissible upon
          availability and will vary by development based on the availability of parking spaces. Visitor parking procedures
          will be established and enforced by Property Management and subject to approval by Property Office. The
          process of approval is as followed:
               o For CHA buildings that have underutilized spaces and/or the ratio of parking slots to residents are not
                   severely disproportioned, residents will be given the option to seek a majority vote in either allowing or
                   denying visitor parking. Final visitor parking procedures will be outlined in the "house rules" for each CHA
                   site.




UPDATED BY CHA PROPERW OFFICE: 2015 PROCEDURES WERE lN PLACE PRIOR TO 2017 REuISIONS.
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     IpRRrIrue FoR PEoPLE WITH DISABILITIEs
     I
                   Proof of official State of lllinois documentation, including a placard or designated disabled license plate,
                   must be provided for residents to utilize accessible designated parking spots
                   Management shall follow the current reasonable accommodation procedures for all requests for
                   designated parking accommodations.
                   CHA's Housing Rights and Nondiscrimination Department (HRND) may also approve reasonable
                   accommodations for parking for qualified individuals with disabilities.
               o   Management must obtain approvalfrom the HRND before permitting the use of designated parking.
               a   Upon approval, a new ADA parking permit will be issued allowing access to designated parking spaces.


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 JCAR SHARTNG PROGRAM
 I

         CHA  will allow car sharing companies to submit proposals outlining terms and conditions for parking their vehicles
         and installing signage in CHA owned parking lots.
            o      A maximum of two spaces may be designated for car sharing programs at any property.
            a      Each car sharing parking rental agreement shall be negotiated using current market parking rates.
            a      CHA Property Office will review proposals and coordinate with property management and building residents
                   before agreements are executed.




                                                                End of Document




UPDATED BY CHA PROPERTY OFFICE: 2015 PROCEDURES WERE lN PUCE PRIOR TO 2017 REVISIONS.
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                                               WOOOLAWN COnaMUNITY
                                              DTvTIOPM ENT COnpORATION

March 5,2018

Mr. Shaka Zulu
Client # 715636p
   East 69'h Street #902
661,
Chicago, Illinois 60637

Re: Lease violation   -   Poor housekeeping

Dear Mr. Zulw,

Management has received the finai results from the monthly generai pest control
extermination conducted in your unit on Monday, Match 5,2018. Yout unit has been sited
to have poor housekeeping (heavy grease build up on appliances). Accotding to the FY 2015
Chicago Housing Authotity Residential Lease Agreement, under Section 8, Resident's
Obligations (d) which states: To keep the dwelling unit and other such areas as may be
assigned to the resident for the family's exclusive use in a clean and safe condition, and to
cure housekeeping violations within 30 calendar days of notice.

This letter serves as a written warning that your unit is currently in lease violation status.
You will have thirty (30) days from the date of this letter to cure the lease violation.
Management will conduct a follow up unit inspection on your unit on ot after Thursday,
April 5,2018 to determine if the lease violation has been cured. Management will deliver 48
hour notice to you pdor to yout scheduled inspection date. Once management has
conducted the unit inspection and it is determined the violation has not been cured, further
legal actions may be taken.

Management has forwatded a Resident Service Coordination Program Referral and
Disposition Report to the on site Resident Service Coordinator, Mr. Coleman Bddgemon
who's office is located at 661E. 69'h Stteet, IJnit2ll. Mr. Bridgemon's contact number is
(773) 955-9784- Office. Mt. Bridgemon will be making contact with you to see if there are
any additional services that may be obtained to assist you to cure your lease violation.

Thank you fot your cooperation,


Neena Williams
Propery Manager
Ada S. McKinley Apartments

Cc: Tenant File




                              Committed to Serving Fumilies and Building Communities
      Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 39 of 68 PageID #:39


                                           WOOOL AW N CO            IrrT   IT,IUNITY
                                         DTvTIOPM ENT ConpoRATIoN


                                      MARCH 6,2018

      ATTENTION ALL ADA          S.   MCKINLEY APARTMENT RESIDENTS,

  THE PROPERTY MANAGEMENT STAFF OF ADA S. MCKINLEY
WOULD LIKE TO THANKYOU FORYOUR COOPERATION DURING
THE MONTHLY EXTERMINATION INSPECTION CONDUCTED BY
        \TENDOR, PI.ATINUM PEST SOLUTIONS INC.

     PLEASE BE ADVISED THAT A WCDC PERSONNEL WILL
  ACCOMPANY THE AS SI GNED EXTERMINATI ON TE CHNICIAN
 MONTHLY TO CONDUCT A UNIT INSPECTION IN THE UNIT TO
                INSPECT THE FOLLOWING:
                    SMOKE DETECTOR
                        HOUSEKEEPING
                          APPLIANCES
                           OUTLETS
        INSPECT FOR EVIDENCE OF VERMIN (MICE/ROACHES)
       BROKEN WINDO\IIS AND/OR MISSING WINDOW SCREENS
                  PAINTING/PLASTERING ISSUES
              AI{Y OTHER OBSERVED DEFICIENCIES

      THE FOLLOWING IS THE MONTHLY SCHEDULE FORADA                                S.
                          MCKINLEY APARTMENTS:

lST   THROUGH      5TH   FLOORS    - EXTERMINATION           IS SCHEDULED ON
                   THE    3RD   MONDAY OF EACH MONTH.

6TH   THROUGH      9TH   FLOORS       - EXTERMINATION        IS SCHEDULED ON
                   THE    1ST   MONDAY OF EACH MONTH.

 A 48 HOUR NOTICE WILL BE DISTRIBUTED TO NOTIFY YOU OF
      ALL INSPECTIONS CONDUCTED ON THE PROPERTY.

                NEENA WILLIAMS, PROPERTY MANAGER
                 WCDC/ADA S. MCKINLEY APARTMENTS


                         Committed to Serving Families and Building Communities
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March 22r 2018

To:   Ada S. McKinley Apartment Residents

Fromr Neena Williams, Property Manger

Subject: Annual Uniform Physica! Gondition Standards Inspection
(uPGs)

Please be advised of the scheduled annual UPCS lnspections
(Housekeeping/Unit) to be completed by contractor, US lnspection
Group for the following dates listed below for each unit at Ada S.
McKinley Apartments;

THURSDAY, MARCH 29r 2018 8:OO AM TO 5:OO P.M.
FRIDAY, MARGH 30, 2O{8   8:OO AM TO 5:OO PM.

Please make the necessary arrangement for someone to be home at
the time of the scheduled inspection. lf you are not present at the time
of the inspection, management will use the emergency pass key to
gain entry to your unit.

lf there are any unauthorized locks on your doo4 they will be removed.

Thank Vour


Neena Williams, Property Manager
WCDC - Ada S. McKinley Apartments         - Region 3
66{ E. 69th Street
17731955-9{39 - Office




                      Committed to Serving Families and Building Communities
  Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 41 of 68 PageID #:41




        UCE,H::?ffiT::HtH:,'
                             APRIL 2,20L8

 ATTENTION ALL ADA S. MCKINLEY APARTMENTS
                             RESIDENTS
PLEASE BE ADVISED THAT ON WEDNESDAY, APRIL 4,2018
BETWEEN THE HOURS OF 7AM TO 12:00PM NOON,
CONTRACTOR MID AMERICAN ELEVATOR INC WILL
PERFORM THE ANNUAL ELEVATOR TEST ON BOTH
ELEVAToR CARS AT 66T8.69'' STREET.

DURING THE TEST, ONE ELEVATOR CAR $TILL BE OUT OF
SERVICE FORA TWO HOUR TIME PERIOD. ONE CAR WILL
BE LEFT IN SERVICE.


WE APOLOGIZE FOR ANY INCONVENIENCE THIS MAY
CAUSE.

THANKYOU,

NEENA WILLIAMS
PROPERTY MANAGER
WCDC/ADA      S.   MCKINLEYAPARTMENTS - REGION                        3




                     Committed to Serving Families and Building Communities
          Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 42 of 68 PageID #:42
CHANGE.
CHICAH) HOUEI]IG ATTTTIORITY


      DATE: February 2112018


      DEAR RESIDENT: 661 E. 69TH STREET #902


      On Friday. Februarv 23.2018 at 9:00 am, a CFIA private contractor,
      Environmental Design International Inc will come to your unit to complete a
      sample water testing in your kitchen and bathroom sinks of your unit.

      Please make the necessary arangements for someone to be home during this
      inspection. If you are not at home, the passkey will be used to gain entry.




      If you have any questions feel
                                free to contact the management office at
      (773)955-9139 Monday through Friday between the hours of 8:00am - 5:00pm.

      Thank you
      Management
       Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 43 of 68 PageID #:43


    illr
    CHA
cH'cA60 t ousft{G
   AUTHORITY




 DATE: March 22,2018


 TO:    Shaka Zulu

 ADDRESSz 661E. 69th Street                       UNIT: 902




           24.HOUR NOTICE OF INTENT TO ENTER THE RE,SIDENTIAL UNIT



 On Tuesday. March 27. 2018, between the hours of 9:00 4./p.m. and 12:00 a./p.nq. a duly
 authorized agent, employee or contractor of the CIIA will enter your residential unit for the
 purposes of:

           Perfiorming routine maintenance, making improvements or repairs

           Inspecting the unit

           Extermination

X           Other (as indicated below)   -   Water sample testing

           If there is no   ADULT   at home management      will use   }!SS-KU   to gain entrance to
           the unit.




Neena Williams, Property Manager
Ada S. McKinley Apartments
661E.69th Street
(773) 955-9139 - Office
     Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 44 of 68 PageID #:44



                                                WOOOLAWN COIT,IMUNITY
                                              DevrloPM ENT ConpoRATIoN

March 29,2018

Mr. Shaka Zulu
Client # 715636p
66L East 69'h Street #902
Chicago, Illinois 60637

Re: Lease Yiolation   -   Smoke detectot found inoperable due to battery being temoved by
teriant

Dear Mt. Zrulru,

On Thursday, March 29,2018, management was informed by a CHA contractot of US
Inspection Group who conducted the annual UPCS (Uniform Physical Condition Standatd)
inspection that the following violation was found:

Living Room smoke detector found inoperable.

Upon receiving findings, management dispatched maintenance to yout unit to resolve the
emergency issue. Managemerit was infotmed that the smoke detectot had been
disconnected and the battery had been taken out of the unit.


Per the CHA FY 2015 Residential Lease Agreement under Section 8 - Resident Obligations
(c ) states the following: To personally refrain from and to cause resident authorized
members, pets/animals, guests and other persons under the tesidents' conttol to reftain
ftom destroying, defacing, damaging, littedng, or removing any part of the dwelling unit or
development, and to notit/ the CHA of any damage in the dwelling unit.

Mr. Zulu, please be advised that at no time shall the smoke detector installed in yout unit be
disconnected from the wall nor the battery shall be removed. This letter serves as a wdtten
warning to you that your unit is in lease violation status. Property management will monitor
your unit for the next thirtlr (30) days to ensure that you are in compliance.

Thank you for yout cooperation,


Neena Williams,Property Manager
WCDC/Ada     S.   McKinleyApartments    -   Region 3

Cc: Tenant File




                              Committed to Serving Families and Building Communities
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         PmTINUM
         I'r.5T S()r.(r't"roNs. INC


                                      Preventative Pest Management lnspection
March 29,2OL8
Attention Residents of 661 E. 69th Street 6th -   gth Floors:   Your unit will receive preventative tPM Inspection on
Mondav, April 2, 2018 between 9am-4pm.

          Your unit will receive a preventive IPM inspection to ensure a pest free environment. Platinum Pest Solutions
utilizes IPM or lntegrated Pest Management. IPM has been identified by the National Pest Management Association as
one of the most Eco friendly approaches to pest control. IPM is an easy three step process.

    t.  lnspect the home to determine pest activity, if any.
    2.  When activity is found or signs of activity are found, locate the true cause of the problem.
    3.  Treat in the most environmentally friendly way to alleviate the current problem and prevent future recurrence.
**Platinum willalso rendera bed bug quick check on the beds and couches. lf you know of any issues please inform your
property manager or pest management professional**

Preparation for Service:
   o !f vou have anv pest problems or would like a preventative treatment please be sure to conduct the unit
       preparation below before service date

    o    Tenant may stay in unit during application.
    o    Please remove items from the kitchen cabinets underneath the sink.
    o    Everything can be returned to the cabinets after service.
    o    Please remove items from on top of refrigerator and stove to properly treat under and around
         appliances.
    o    Once product has dried (Approx. 30 minutes). You may wipe down counters and return items to their
         places.

NOTE:
   o    lf you have experienced any pest issues, be sure to inform our Pest Management Professional at time of service
        what and where the activity was seen. You may leave a note on the door if you will not be home for service.
    o Please keep pets in bedroom during inspection.
Freq uentlv Asked Questions
    o Do I have to be present for service?
             o Maintenance will use access key for inspection if you are not available. We will document service and
                provide management with detailed report.
   e          for bed bugs?
         ls this
            o This is a pro-active inspection for Rodents, Ants, Centipedes, Pill Bugs, Sow Bugs, Water Bugs, Roaches,
                Spiders ETC. We do not inspect for bed bugs.
   o     Where willthey inspect?
            o Platinum concentrates our inspection in the bathroom and the kitchen.
For further information please contact management at (773) 955-9139. Thank you         for helping us keep a pest free
environment.

Sincerely,
Neena Williams, Property Manager
Ada S. McKinley Apartments
   Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 46 of 68 PageID #:46


                                      WOOOLAWN COnamUNITY
                                     DTvTIOPM E NT Conr,oRATIoN


APRTL 61 2018

    ATTENTION ALL ADA S. MGKINLEY APARTMENT RESIDENTS

IT HAS GOME TO THE ATTENTION OF MANAGEMENT OF AN ILLEGAL
  DRUG ODOR WHICH IS GOMING FROM VARIOUS FLOORS OF THE
                                  PROPERTY.

  PER THE FY 2015 GHIGAGO HOUSING AUTHORITY RESIDENTIAL
LEASE AGREEMENT, SECTTON 8 UNDER RESTDENT OBL|GATIONS (3)
                          STATESI

ALL RESIDENT AUTHORIZED MEMBERS AND GUEST MUST REFRAIN
                                     FROM:

E$.IGAGING IN ANY DR[,'G RELATED CR.IMINAL ACTIVITY ON OR OFF
 GHA PREMISES. FOR PURPOSES OF THE LEASE, THE TERM DRUG-
RELATED CRIMINAL AGTIVITY MEANS THE ILLEGAL MANUFAGTURE,
  SALE, DTSTRIBUTION, USE, POSSESS|ON, STORAGE, SERV|GE,
    DELIVER, OR GULTTVATTON OF A CONTROLLED SUBSTANCE,
                INGLUDING MEDIGAL MARIJUANA.


  ANY UNIT FOUND IN VIOLATION, MANAGEMENT WILL SERVE A
 TERMINATION NOTIGE AND FORWARD DOGUMENTATION TO THE
GHIGAGO HOUSING AUTHORITY LEGAL DEPARTMENT FOR EVIGTION
                               PROGEEDINGS,

                                THANK YOU,

                       NEENA WILLIAMS
                     PROPERTY MANAGER
         WCDC/ADA S. MGKINLEY APARTMENTS                  - REGION 3


                      Committed to Serving Families and Building Communities
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&

                      The I-ocal Advisory Council (LAC)
                                            And
                      The Cental Advisory Council (CAC)
                                Invites All Tenarrts

                         To the Tenant Services Meeting
                         On Wednesday, April 11, 2018
                                            At
                      Jane Adam Family Resource Center

                                  L254 S. Loomis



                            9:00 a.m.   -   Closed Sessron
                         10:00 a.m.   - AII Tenarrts Invited
    (Mixed Finance, Scattered Sites, Housrng Choice Voucher (Section 8),
                  Project Based Voucher and Public Housing)

    Chicago Housing Authority, HCV Staff, and other agencies will be           in
                               attendance.

     Auend this meeting to voice your concerns and learn what changes,
        actions and/or activities are going on at HUD and the CF{A.

                          The I,ocal Advisory Council
                         The Central Advisory Council


          The May 9,zALg Tenant Service Meeting will be held at

                             Trumbull Park District

                               24AO E. 105th      Street
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F Have concerns/issues regarding the Security firm
  where you reside?
F Do you have ideas to help improve the quality of
  the safety in your building or development?
F Want to learn about the Code of Conduct for
  Security and learn about lncident Reports?

 The Central Advisory Council invites ALL Public Housing
 residents to attend the monthly Security meeting where you
 will get the opportunity to express those concerns with top
 managers of those security companies along with the Chicago
 Housing Authority's (CHA) Director of Safety and Security
 Anthony Powell. This month's meeting information is                              as
 follows:

  When: Thursday, April L2,20L8
  Where: 243 E. 32nd Street, Chicago, lL, 60616
  Time: L:00pm
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LEGAL COUNCIL
FOR HEALTH JUSTICE
January 24,2418

Shaka Zulu
661E 69th St
Apt902
Chicago,     IL   60637



Dear Mr. Zulu:

You contacted our agency because you believe you were discriminated against at rvork and
unjustly fired. You previously had hired an attorney to represent you in some aspect of this case.
It is our understanding that your previous attorney never filed a law suit in court on your behalf.
Instead, it seems that he may have attempted to negotiate a settlement without success.

We are unable to offer you representation in your case. We recommend that you request copies
of whatever documents and evidence that your previous attorney has on file from his time
working with you- It may be important to understand u,hat he did in your case. You rvill also
want copies of the evidence you provided him in case you want to move fonvard with another
attomey or on your own.

If you want to file                                                                               in
                        a case alleging race based discrimination under Section 1981, you can do so
Federal Court. However,   you have a limited amount of time to file. The statute of limitations on
such a claim is four years.

I will be closing your case with our agency and wish you the best going forward.

Sincerely,


]rv,t^bt^*&P
Jessica Rhoades
Attorney




.trIDS   tegal Council I Chicago Medical-tegal Partnership for Children I llomeless Outreach Projed
     l7 N State   St Suite 900   Chicago, IL 60602 | Tel: 312.427.8990 Fax: 312.427.8419 | www.legalcouncil.org
         Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 52 of 68 PageID #:52



 LEGAL COUNCIL
FOR HEALTH JUSTICE
January 24,2OLB

Shaka Zulu
 661     E   69th St
Chicago,       lL 60637

 Dear Mr. Zulu:

I'm sending you a brief client satisfaction survey, so that you can let us know what your
experience with the Legal Council was like. I hope you can take a few minutes to complete
and return it to us. Your feedback is valuable to us.

Best regards,


9ftJ*"e*
Jessica Rhoades
Staff Attorney




.[,IDSLegd Gouncil I Ghicago Medical-Legal Partnership for Ghildren I Eomeless Outreach Project
     l7 N State St Suite 900 Chicago, IL 60602 | Tel:312.427.8990 Far 312.427.8419 | www.legalcouncil.org
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 LEGAL COUNCIL                                           Cl   ient Satisfaction Su rvey
 FOR HEALTH JUSTICE
You recently contacted us for assistance. You worked with Jessica Rhoades at Legal Councilfor
Health Justice. lt is very important for us to find ways to serve our clients better and to know
what we are doing well. Please take a moment to complete this survey. Your help is greatly
appreciated.

Oun Srnvrce

                                                                    Yes    Somewhat        No    N/A
 When you most recently contacted us, were you able to talk to
                                                                     tr          tr        tr        tr
 legal staff about your case promptly?
 Did you find our staff courteous and respectful?                    tr          tr        tr        tr
 Was your legal advocate knowledgeable about your legal issue?       D           tr        tr        tr
 lf you had to leave a phone message, did you get a reply in a
 reasonable amount of time?
                                                                     tr          D         tr        tr
 Did your legal advocate keep you updated about your case?           tr          tr        tr        tr
 Were your questions answered completely?                            tr          u         D         tr
  Was a reasonable timeline for your case explained to you?          tr          tr        tr        tr
 Did your legal advocate do what they said they would do?            tr          tr        tr        D
 Were the shared client/advocate responsibilitles fair?              tr          n         tr        tr
 Did you walk away with increased peace of mind or reassurance?      tr          u         tr        tr
 Do you feelyour advocate really heard what you had to say?          tr          tr        D         tr
 Would you recommend our services to a friend in need of legal
                                                                     tr          tr        tr        tr
 assistance?

You can comment on your responses here:




Outcorurs
Getting legal services...                                         Yes Somewhat No               N/A
 Helped me stay in medicalcare                                     tr   tr     tr               tr
 Helped me keep or get income                                                  tr               tr
 Helped me keep or get health insurance (Medicaid, Medicare, etc.) n    tr     u                tr
 Stopped creditors from harassing me                               tr   tr     tr               tr
 Helped me keep my confidentiality from being violated further     tr   tr     tr               U
 Helped me reduce or manage debt                                   tr   tr     tr               tr
 Helped me with information about keeping or getting a job         tr   tr     n                tr
 Helped me with knowledge about my rights                          tr   tr     tr               u
 Helped me get a will, power of attorney, guardianship, or other
 estate planning
                                                                    tr      u         tr        tr
 Helped me keep and/or get education services (special education,   tr      tr        tr        D




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ADOVCATE IMMC OUTPATIENT BE,HAVIORAL HEALTH SERVICE,S


FAX                                                          DArE: 0212112018
                                                             NUMBER OF PAGES INCLUDING
                                                             COVER SHEET:




   TO:                                                       FROM:
                                                             VIARBELLA SALGADO
   .IONATHAN C GOLDMAN                                       CASE MANAGER




                                                             PHONE: 7731296-3133 EXT
   PHONE:                                                    FAX PHONE
   FAX PHONE:                                                773t296-0532
   312.372.7076
   CC:



   REMARKS:          N   URGENT       X   FoRYouR           tr   REPLYASAP        tr   PLEASE COMMENT
                                           REVIEW



THIS FAX IS INTENDED ONLY FOR USE BY THE ADDRESSEE(S) NAMED HEREIN AND MAY CONTAIN LEGALLY PRIVILEGED
AND/OR CONFIDENTIAL INFORMATION, IF YOU ARE NOT THE INTENDED RECIPIENT OF THiS FAX, YOU ARE HEREBY NOTIFIED
THAT ANY DISSEMINATION, DISTRIBUTION, PRINTING OR COPYING OF THIS FAX IS STRICTLY PROHIBITED. IF YOU HAVE
RECEIVED THIS FAX IN ERROR. PLEASE IMMEDIATELY NOTIFY OUR OFFICE AT 773-296.3220 AND DESTROY THE FAX THAT YOU
HAVE RECEIVED.



RE: SHAKA L ZULU
PHONE: 31 2.722.9484
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                     I
THRES HOTDS
                         I
EOME IIEALTE ,                    EOPE          Housing Waitlist ApPlication
Step          1-:   Are You Eligibie?
Thank you for your interest in Thresholds housing programs. Please note that all of the programs listed in
this application have waitlists. Thresholds does not provide immediate or emergency housing. The
waiting period varies by program, and can be extensive.

Please also note that certain prog6ms have closed their waitlists until further notice.                                         lf a program       is
marked "closed", you may not select it.

Who qualifies for Thresholds housing programsl?
           -Persons with disabilities (mental illness) AND very low income status
How manlr people can live in one Thresholds housing unit?
                                                                                        housing at this time.
           -Currently Thresholds can only house single adults we do not have any family
                                                             -




Step 2: Assembling tLre Applicaticn
ReOuifed documents:                Submissions that do not have the following 2 items are incomplete
and   will   be returned to the sender.
             1-)             Completed application including valid MAILING ADDRESS
             2) -_           Verifir:ation of Disability Form: completed by a licensed mental health professional,
                   signed by both the applicant and diagnosing clinician (see attached)

Requested documents: The following documents are not necessary to be placed on the
waitlist. However, they would expedite the process, and will be required at the time of
interview.
                                  3)        Determination of Disability from Social Security Administration
                                  4)   -_   Birth Certificate
                                  5)   _State      lD
                                  6)        Social Security Card
                                  7l   -    Medicaid Card
                                       -
 Step 3: Submitting the Compiete Application
Thresholds Housing Administration
          Knickerbocker
 ATTN: Kevin                                                                                          Fax: (773) 537-3751'
 4101N Ravenswood                                                                       Email: Housingadmin@thresholds.org
 Chicago, lL 60613


          Questions? Comments? Give us a call at (7731572'5272
 I Households that verifu quallfications for all applicable preferences will receive assistance and be given priority over less qualified households. lf
 you feel you qualify for a housing preference, please identify the preference(s) in the Household Compositlon and Characteristics section of the
 application. For households not claimlng household preferences. screening will be conducted in the order the applications were received.




 Revised June 2017
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      TIIR
                   =rhorrDs
      SOME     .    EEtr,ETE    .   EOFE                                     Threshohlb Housing Administrator ONLY : date/time received




                           WAITLIST APPLICATION : TIIRESHOLDS HOUSII{G

APPLICANT NAME (Head of Household)

VALID MAILTNG ADDRESS

CITY, STATE, ZIP CODE

PzuMARY PHONE:                                     OTHER PHONE:                               EMAIL:



 Are you currently receiving mental health and./or case management sewices?       (1N)

 lf   yes, may lve contact your provider?   (Yn$   _
 Agency/Provider Name:

 Contact Person:                                   PHONE:                                  EMAIL:




ALTERNATE CONTACT NAME:

PHONE:                                        OTHER PHONE:                                 EMAIL:


How did you hear about Thresholds Housing?
              (please check ail that apply)
_     Familyffriend
_     Thresholds Case Manager / Social Worker
_     Other Social Service Agency - Agency Name:
_     Communiry Program / Church
_     Email
_     Thresholds Website
_     Other (please speciff):



      Required Program Preferences: all properties, excluding Ridge
                     persons with disabilities (mental illness)
                   _maximum income limit not to exceed 80%        AMI

      Additional       Req uirements   for Specific Proqrams:
                      persons who meet HUD homeless eligibility (see pages 6-7 for criteria and required documentation)
                      persons with dual diagnosis (mental illness & substance abuse)
                      persons who are Deaf or Hard of Hearing
                   _existing  tenant transfer due to medical necessity
                           (must provide documentation ftom medical provider)   - Current    Tenant




       Revised June 2017
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                                                      Housing Options - Part 1
               NOTE: You must make at least one housing selection on pages 2,3 or 4 of this application.



                                                  .   Each   of the following programs has 8 private bedrooms,           a shared kitchen and shared bathrooms, and a common

        Group Homes                               area
                                                  . Supported houses          have staff on site approximately 8 hrs/day
   HUD subsidized, permanent supportive housing
                                                      Supervised houses have staff on site approximately 24 hrvday

                         Program Name                                  Area                                 Additional Ellsibiliw Criteria                  Staff       select
            Salumet House                         iouth side: Bronzeville                                                                               Suooorted
            lslander House                        iouth side: South Shore                                                                               ;uooorted
            Karlov House                          A/est side: West Garfield Park                                                                        ;uDoorted
Chicago Keatins House (Bill's Place)              iouth      side: Archer Heiehts                                                                       iuoervised
            Kins House                            iouth      side: South Shore                                                                          iupported
            Maza House                            ;outh      side: Woodlawn                                                                             ;upported
           Polk House                             \lorth     side: Humboldt Park                                                                        iupported
           Vincennes House                        louth      side: Bronzeville                                                                          iupervised
N. Suburbs 5alubriry (Church Street)              North Suburbs: Skokie, lL                          Chronic Hornelessness (see pgs 7$ for morc info)   Supported
5. Suburbs Chicaso HeiEhts House                  louth Suburbs: Chicago Heights,         tL                                                            SuDported
Kankakee    Harbor West House                     Kankakee, lL                                                                                          Supported




                                                  .   lndividual room including private bathroom and kitchenette
           Private SROs                           .   These properties have 2rt-hour security desk clerk staff and on-site community support staff
   HUO subsidized, permanent supportive housing   .   NOTE: Acceptance into program contingent on CHA approval at later date


      NOTE: These progrirms have additional eligibility criteria - if you apply for one of these
       ms, please make sure your application includes the necessary documentation, listed here
                         Program Name                                  Area                                      Requlred Documents                          Staff      select

                                                                                                 .   Documentotion of Homelessness (Homeless
                      Austin Apartments                       West side: South Austin                                                                    24 hours/day
                                                                                                                          Lexer)



                                                                                                 .   Documentation of Substance Abuse (shown
                                                                                                         on the verificotion of Disobility form)
                       Grais Apartments                       North side: Rogers Park                . Documentotion of Chronic Homelessness             24hours/day
                                                                                                      (Homeless Letter,    See   poges 7-8 for more
Chicago                                                                                                               informotlon)




                                                                                                 .    Dacumentation of Substonce Abuse (shown
                                                                                                        on the Verificotion of Disobility form)
                           Rowan Trees                        South side: Englewood                  . Documentotion of Chronic Homelessness             24 hours/day
                                                                                                      (Homeless Letter, see poges 7-8 for more
                                                                                                                      informotion)




            Rcvised June 20 I 7
                Case: 1:18-cv-02498 Document #: 1 Filed: 04/09/18 Page 59 of 68 PageID #:59




                                                  Housing Options - Part2
                 NOTE: You must make at least one housing selection on pages                                2,3 ar 4 of this application.




The following housing programs are only available for Williams or Colbert CIass Members.
lf you are not a Williams or Colbert Class Member, you mav                     not select these programs.

                                                  .   Permanent Supportive Housing for Williams or Colbert Class Members
                                                  .   Scattered site studio & 1-bedroom units
                                                  . Accepting bridge        subsidy or other tenant-based voucher

                       Program Name                                    Areas                 Additional ElieibiliW Criteria            Staff              Select

                                                                                            Bridge subsidy or other tenont'
                       Condos - North                          North side of Chicago          '     based voucher
                                                                                                                                       None


Chicago                                                                                     Bridge subsidy or other tenont'
                       Condos - 5outh                          South side of Chicago                                                   None
                                                                                                    based voucher

                                                                                            Bridge subsidy or other tenant'
                    Condos - Southwest                    Southwest side of Chicago                                                    None
                                                                                                    bosed voucher




      NOTE: Many of the following programs have waitlists that are closed. You may not select waitlists that are marked "CLOSED".

                                                  o Private       apartments

  StUdiO & 1 BedfOOm                                   ruinirrrn staff indicates Thresholds community support staff available by appointment
                                                  l.
                                                  l. Supported houses have staff on site approximately 8 hours a day
           Apartments                              . NOTE: Kiley Apartments is part of the Thresholds Deaf Program - applicants              must document deafness
                                                  in order to be placed on this waitlist
  HUD-subsidized, permanent supportive housing
                                                  . Attention:        Certain waitlists are closed until further notice - these programs may not be selected

                       Program Name                                     Area                  Additional ElieibiliW Criteria            Staff              Select

             Carrol I Street   Apartments (1BR)       u1/est   side: East Garfield Park                                        Minimum                    CLOSED

             Casa De Trov (1BR)                       iouth side:,Marquette Park                   CHA (PRN opprovql           Minimum                    CLOSED

             Dorchester Apartments (1BR)              iouth Side: Woodlawn                                                     Minimum                    CLOSED
                                                                                                                               Minimum (with front
             Edeewater Shores (studio)                North sider Edgewater                        CHA (PRA) opprovo!          desk clerk)                CLOSED
 Chicago                                                                                                                       iupported
             lumboldt House (studio/1BR)              North side: Humboldt Park                    CHA   PRN opproval                                     CLOSED

             lacqueline Terrace (studio)              North side: Lakeview East                                                Vlinimum                   CLOSED
                                                                                              Deaf/hord of hearing"     CHA

             Kiley Apa rtments (studio/1BR)           South side: Bronzeville                            opprovol.             Minimum
             Mount Greenwood (1BR)                    Far South side; Mt.Greenwood                 CHA IPRN oooroval           Minimum                    CLOSED

             Penn House (1BR)                         North side: Old Town                                                     Minimum                    CLOSED




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                                                           Housing Options - Part 3
                   NOTE: You must make at least one housing selection on pages                                                2,3 or 4 of this application.
             The   following sites manage their waitlists independently from Thresholds Housing Administration. Your application will be forwarded to the
                        progrcm director at the selected location(s) and those program directors will contact you iffurther information is needed.


  Group Homes                                 .
                                              .
                                                  Private bedrooms with community living area, kitchen, and bathroom(s)
                                                  Please NoterThese units are NOTsubsidized by HUD
      Permanent supportive housing

                   Program Name                       Area                               Description                  Additional Elisibility Criteria               Program Director    Select
             Becker House                North side: Rogers Park               5 private bedrooms                         Deof/hord of heorina                      Vicki Hall
             California House            North side: Ravenswood                3 private bedrooms                         Deaf/hord of hearing                      Vicki Hall
 Chicago
             Kiley House                 North side: Bronzeville               , private bedrooms                         Deaf/hard ol heorins                      Vicki Hall
             Paxton House                South side:South Shore                10 private bedrooms                                                                  Shirley Alexander
             Washtenaw House             North side: Ravenswood                J private bedrooms                         Deof/hord of heorins                      Vicki Hall
                                                                                                                          lncome to offord rent
             Wright Terrace              N. Suburbs:Skokie, IL                 8 private bedrooms                             SSSO/manth                            Sean McNallv
N. Suburbs
                                                                                                                          lncome to offord rent
                                                                               8 private bedrooms
             Morton Grove House          N. Suburbs:     Morton Grove, lL                                                       5550/month                          Sean McNallv
                                                                                                                                                                    Jeannette
Kankakee     River House                 Kankakee, lL                          4 private,2 shared bedrooms            Minimum         LOCUS Score          of 4
                                                                                                                                                                    Tetreault
McHenry AMI House                        Woodstock. lL                         7 private bedrooms                         Chronic homelessness                      qrt Krzyzanowski
Countv Castle Road                       A/oodstock, lL                        6 private bedrooms                         Chronic homelessness                      qrt Krzyzanowski


                                                                                   .   Unit size varies by property
  S   Ro/Shared Apt./Studio/1BR Apt.                                               .   Sharetl apartments are intende<i for single adults, not family housing
                       Permanent suppoftive housing                                .   NOTE: The Hope Apartments waitlist is currently closed and may not be selected

                    Program Name                          Area                               Description              Additional Elieibilitv Criteria               Prosram Director    Select
                                                                               I studio apts, community               3 p sychiotri c      h   os pitoli zatio ns
             Coles House                 South side: East Hvde Park            kitchen                                     within the lost yeor                     Shirley Alexander
                                                                                                                      3 psychi otric hospitolizati on s
                                                                               8 studio apts
             Woodlawn House              iouth side: Kenwood                                                               within the lost yeor                     ihirlev Alexander
                                                                               10 private bedrooms,                     Chronic Homelessness               for
 Chicago                                                                       community room and                       individuals needing a low
             Safe Haven (Lawson)         Downtown Chicaeo                      bathrooms                                      demond seting                         Paul Mireles
                                                                               10 private bedrooms,                     Chronic Homelessness               for
                                                                               community room and                       individuols needing o low
             Safe Haven    (Downtownl Downtown Chicaeo                         bathrooms                                      demand settinq                        Paul Mireles

                                                                               Z-bedroom and studio apts
             lope Apartments             North side: Rogers Park                                                                                                    Sam Guardino        CLOSED

                                                                                                                          lncome to offord rent
                                                                               4 2-bedroom apartments
             fld Orchard Apts.           North Suburbs: Skokie,      lL                                                         <<1n/m^^rh                          Sean McNallv
                                                                               2 shared 3-bedroom (3
                                                                                                                      Minimum         LOCUS score          of 17
             3ak Park CIl.A              West Suburbs: Oak Park,          lL   male/3 female: 6 units)                                                              Caroline Ladky
                                                                               15 private bedrooms,                      Ch   ronic   11   omelessness,
 Suburbs     Safe Haven (West            West Suburbs: Melrose Park,           community kitchen, living              connection to Suburban Cook
             Suburban)                   IL                                    room. and bathrooms                                    Countu                        Caroline Ladkv

             South Suburbs Aots.         South suburbs: Blue lsland, lL        2 2-bedroom and 1 studlo                                                             Natalie Marsh
             South Suburbs Blue
             lsland Scattered Apts.      South suburbs: Blue lsland, lL        5 2-bedroom aots                                                                     Natalie Marsh
McHenry      Rebecca Susan                                                                                                lncome to offord rent
 County      Apartment5                  Woodstock, lL                         6 2-bedroom apts                                 $450/month                          Art Krzvzanowski




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 List the Head of Household and all other members who will be living in the unit.
                                                                                  Give the relarions of each family member
 to the head' At this time the largest household Thresholds .un a".om-odate
                                                                            is 2 individuals (including children).

                              FULL N.{}IE                 RELl,TIONSHIP        BIRTH DATE      AGE     SEX (ootional)   SOCLdL SECURIT}'#
         TIEAI}
         SPOUSE      /
         CO.I{EAI}

         DEPENDANT

         OTHER



 Is head of household or spouse disabled?            y/N_            (for program & unit erigibitiry purposes)

 Does   your household have any special           needs that   warrant Reasonable Accommodation status?                 y/ll
           lfso, please describe (ex: applicant   needs   a wheelchair accessible unit):



          NOTE: to obtain Reasonable Accommodation status, the applicant may be required
                                                                                           to submit a reasonable
          accommodation letter from a medical doctor that docu*"nts th. medical neceisity
                                                                                          of the request.

Do you have Medicaid?           yAI           Medicaid RIN #

Do you have any other kind of medical insurance?                 y/N            Provider:

Are vou a United States Citizen? yA.l
                                                _
          If not    do you have eligible immigration status: y/.NI
                                                                     _
Is anyone in your househotd subject to a state lifetime registration requirement                                           y/II
                                                                                 for sex offenders?
          If   so, provide name of househotd member:


Have you or anyone in your household been convicted of a felony? yAI

          If   so, provide name of household member:

          Date(s)   & Offense(s):



Have you or anyone in your household ever                 been evicted from a federally tunded housing program for drug-related
criminal activities? y/N

          lf   so, provide name of household member:

          Program name and date ofeviction:

Are you currently living in a subsidized housing unit? y,N

          Name of complex:

          Namc of manager:

          Manager's telephone number:




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  HOUSEHOLD INCOME INFORMATION

  List all cur-eot annual income, other soulces, atrd/or assets for Head of Household and all
                                                                                              other household members.
                          N,f.ME                     SOURCE OF hICOME/TYPE OF INCOilTE                ANNU.AL   n\iCOlIE




                      American Indian/Alaskan Nafive      American     _   Asian/pacific Islander
               -      Black /   African           Native Hawaiian / Other Pacific   Island      White/Caucasian
              -
           Ethnicitv - Head              -
                                of Household (checkone)

              _       Hispanic /   Latino           _   Non-Hispanic / Non-Latino




 APPLICANT CERTIFICATION

 I/we certifu that if selected to receive assistance, the unit Vwe occupy will be my/our only
                                                                                                residence. Vwe understand that
 the above information is being collected to determine my/our etigibitiry.
                                                                             I/we authorize tire owner /manager/pFlA to veriry
 all information provided on this application and to contact curent or previous landlords.
                                                                                             Vwe authorize the owner/mana_ser
 PFIA to conduct a criminal background and sex offender regismations
                                                                         checks with the appropriate fed.eral, state, or local
 agencies' I/we certifu that the statements made in this application are
           -
                                                                         true and complete to the best of my/our knowledge
 and belief. I/we understand that falsifying informatio, on ttrir document punishable
                                                                             is           under federal law.

 HEAD OF HOUSEIIOLD SIGNATURE:
                                                                                                     Date:

                   Spouse /Co-Head Signature:
                                                                                                      Date:




         Thresholds Housine Staff ONLy:

         Processed by:
                                                                                    Date:
                                        (print)

         Signature:




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                            HUD SHP Homeless Eliqibilitv Verification Form
                                            (check applicable criteria)

        NOTE: ALL SUPPORTING DOCUMENTATION MUST BE ATTACHED TO THIS APPLICATION

       Cateqory One: All Program Model Types


        (e.9., streets, parked car, park, on the sidewalks or in an abandoned building)

        Person(s) is sleeping in an emergency shelter

        Person(s) is living in a transitional or supportive housing for homeless persons, but who originally came
       the   streets or emergency shelter

        Person(s) is being discharged within 7 days from an institution in which they have been a resident no
        more than 90 consecutive days and no subsequent residences have been identified and they lack the
        resources and support networks needed to obtain houslng. (having originally been on the street or in an
        emergency shelter)

        Cateqory Two: Transitional Housing (TH), Safe Haven (SH), Supportive Services Only (SSO)

        Person(s) who will imminenfly (within 14 days) lose their primary nighttime residence with no subsequent
        residence, resources or support networks.

        Cateqory Three: May not be used for any Thresholds programs

        Unaccompanied youth or families with children/youth who meet the homeless definition under another
        federal statute and 3 additionalcriteria

        Cateqorv Four: All Program ModelTypes

        Those fleeing Domestic Violence who have no subsequent residence, resources or support networks




Chronic Homeless:

        Person who meets the Chronic Homeless      Definition: Yes           No


Chronic Homeless means: - Homeless individual with a disability or family with an adult (or if no adult, a minor
HOH) head of household who:
      . Lives in a place not meant for human habitation (ie: living on streets), in a safe haven, or in an
          emergency shelter.
      . Has been homeless continuously for at least 12 months OR on at least 4 separate occasions in the
          last 3 years, where the combined occasions must total at least 12 months. (An occasion is defined by
          a break of at least 7 nights not residing in shelter, safe haven or a place not meant for human
          habitation.)




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                                   Documentinq HUD Homeless Eliqibilitv
                                  (Documentation must not be older than 120 days)

Livinq on the Street:
.   Name of organization or outreach workers who have assisted: OR
.   Address where general assistance checks are delivered: OR
'   Other information that might verify person living on the street (i.e. case notes, documentation from mobile
    outreach worker)

Emerqencv Shelter:
'   Written verification from shelter staff that the person has been living at the shelter (verification should be
    signed and dated by shelter personnel)

Transitional Housino:
' Written veffication from transitional housing staff that individual has been residing in transitional housing
    (verification should be signed and dated by transitionat housing staff,)
    AND
'   Verification that individual was living on the streets, emergency shelter or discharged from an institution prior
    to entering transitional housing

Short Term lnstitutionat Stav:
' Verification ftom institution that individual resided in the institution for less than 90 days: AND
.   lnformation about previous living condition

(formal proceedinqs) Evicted:
'   Evidence of formal eviction proceedings that show individual was evicted within the week before receiving
    homeless assistance: AND
'   lnformation about the individual prior to eviction (income, other efforts to obtain housing, why person would
    be living on the street or emergency shelter without assistance)

(bv familv) Evicted:
' Statement describing reason for eviction MUST be signed and dated by family member.
(no formal proceedinqs) Evicted:
' lndividual MUST sign and date statement describing how they were forced out of a dwelling for reasons
    beyond their control (Program MUST make efforts to verify individual's statement and MUST have written
    verification describing their efforts)

Lonq Tgrm lnstitutional Care:
' Verification from institution's staff that individual has been discharged within the week before receiving
    homeless assistance; AND
'   lnformation about the individual (income, other efforts to obtain housing, why person would be living on the
    streeUin emergency shelter without homeless assistance.

Domestic Violence:
'   Wriften verification from individual that he/she is fleeing a domestic violence situation. lf individual is unable
    to prepare a written statement, program may prepare statement and have individual sign and date.

Docur,nentinq Ghronic Homelessness
'  9t party documentation preferred: ihis may inciucje cjocumeniation from sheiter, institution (stays of less
   than 90 days), HMIS, Safe Haven
'  Certification from outreach workers or other community contacts who have assisted the person(s) in recent
    past.
'   For prior occasions - participant and/or staff should prepare a written statement describing stays on the
    street and/or in emergency shelters. Statement must include dates and locations about pr6vious emergency
    shelter, street stays or stays in safe haven.



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                                                                                                                                          OMB Control# 2502-0581
                                                                                                                                                Exp. (02/28/2019)
                                                Supplcmcntal and Optional Ctrnhgl lrrtbrnution For llUD-.{ssisted t-lousing r\pplicunrs

                                                SUPPLET,IENT TO .{,PPLIC.\TION FOR FBDERAI.LY ASSISTED HOUSINC
                                                    This form is to be provitlc.d ro clch appticant for fcdcnlty assisred lrorsiug

  lnstructions: Optional Contact Person or Organization: You hatc rhc righr by larv to include as part of your applicarion lor
                                                                                                                                         housing,
  the name' address" telephone number, and other relevant information of a fanrity member,
                                                                                                friend, or iociat, healttr, advocacy, or other
  organization- This contact infomlation is for rhe purpose of identifiing a p"oon o, o.grnization that may
                                                                                                                  Le able to help in resolving any
  issues ihal may arisc duriag your tenarcy or to assist in providing any
                                                                          ipecial care or services you may rfouire. 1,ou may update,
  removg or change the iDfo-rmation you provide oR this form at an).time. You are not required
                                                                                                           to orovidc this contacr infqrmation,
  but if you choose to do so, please iuclude the relevatrt information on iri" for..

    A.pplicant Nanre:
    Mailing Address:

    Telephone No:                                                               Cell Phone No:
    Name of Additional Contact person or Organization:

    Address:

   Telephone No:                                                                  Celt Phone No:
   Elklail Addrcss gf applicable):

   Relationship to Applicant:
   Reason      for Contact; (Check aI                   that apply)
         Energency
                                                                                   fl   er"i.t *itt Recertification   Process
         Unable to contact you                                                     I    Cn*g" iu lease tsrrrc
         Termiuation of rental assistance
                                                                                   f]   change in housc nrlcs
         Er'iction from unit
         Late payment
                                                                                   f]   oe,..
                                   ofrent
   Commitmcnt of }rousing Authority       or- owner: Ifyou are approved for housing, this inforrration will be kcpt as part of your tcnant file. tf issues
   arisc during your Icnancy or iflou rcquirc_a1Y sewioes or spccial       ,ru *"y 6nu"t rt poron or orglnization you listed to assist in resolving the
   issues or in providing aoy serviccs or ipeciat care to you. '     ""r.,                   "

   confidentiality statemeut: The information providcd or this form is confidcnrial and will not be disclosed ,o
   applicant or applicabie larv.                                                                                                "nyon"
                                                                                                                                         .r""lif!ffilil
   Legal Notification: Section 644 ofthe Housing and Community Developmcnt Act of 1992 (Public
                                                                                                        law 102-550. approved october 28. 1992)
   rcquires cacL applicant for federally assisted holtsiDg to be ore;d the oition
                                                                                  oiproviding iofonnalion regarding an additional     contact
                                                                                                                                       person         or
   organization' By accepting drc applicanfs applicadJrr, rhg housitrg proviaer
                                                                                    agrees to *,ipty *itr, &e ndd;scnamination and equal opportunity
   requircments oF24 CFR section 5-105,-inctudingrh. proi iuitlon"
                                                                        on discrimi;adon in aamisslon to or participation in federallyassisred housing
   Programs or the basis ofrace,.color, rcligioq natior-rai origin, sex, disabiliry, and familial sanus undcr tic Faii Housing
                                                                                                                               Act, and thc prohibition on
   age discrimination undcr the Age Discrimination Act of t6ZS.


 D      Check this box             if you       choose not to provide the contact information.




                       Signature of              Applicant                                                                               Date
fti-hi"n.ol



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collcrJon disphys   r cumnrly Etid OMB ontrol nnricr.


uxd by HUD   ro   prcurt   dirhscmr ttlc iom fi:uautqr       Jcdorc.
                                                                                                                                         Fom [UD- 92006 (0s/09)
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                                                    Verification of Disability
                                                                                                                         From:
                                                                                                                         Thresholds Housing Administration
                                                                                                                         4101 N Ravenswood Ave
                                                                                                                         Chicago, lL 60513


                                                                                                                         Phone: (773) 572-5272
                                                                                                                         Fax: (773) 537-375L

 Subject: Verification of Disability and Consent for Retease of Information for the following applicanUparticipant of HUD-assisted and/or
 other Thresholds housing:

 Name                                                                                     SS#
TheabovepersonhasappliedforhousingassistanceunderaprogramofHUD*ilo,otu"
otqrer to verifu all information that is used io-determining this person's eligibiliry or level of benefits.
                                                                                                              We ask-your cooperation in providing the following
information and returning it to Thresholds llousing Administration lrtia at itre top of thc page.
                                                                                                             Your prompt response will help to enslure timely
processing of the application for assistance. The applicant/tenant has corsented
                                                                                     to this ielease oi information below.

 For each numbered item below, mark an "X" in the appticabte bor that accurately describes the person tisted
                                                                                                             above,
      YES   NO
 l'                 Has a disability, as defined in 42 U.S.C. 423, which msans, has an inability to engage in any substantial gainful
                                                                                                                                         activity by reason of any
                   medically determinable physical or mental impairment that can be expected to rezuli in death or that has iasted o,
      -     -                                                                                                                                   b. expected to last for a
                   continuous period ofnot less than 12 months; or in the case ofan individual who has attained the age of55 and is        "*
                                                                                                                                           blind, has an inability by
                   reason ofsuch blindness to engage in substantial gainflrl activity requiring skills or abilities .o-priubl"
                                                                                                                                to those ofany gainful activity in
                   which he/she has previously engaged with some regularity and oveia subitantial period of time. For the purposes of t6ii definition,
                                                                                                                                                              the rerm
                   blindness, *   d:F:9 in section 416(i)(l) of this title, mgens ggntral vision acuity of 20/?00 or less in the bettir eye with use of a correcting
                   lens. An eye which is accompanied by a limitation in the fields of vision such that the widest diameter of the visual field subtends an ungi!
                                                                                                                                                                       no
                   grcater than 20 degrees shall be considered for the purposes ofthis paragraph as having
                                                                                                               a central visual acuity of20l200 or less.
2'                 Has a physical, mental, or emotional impairment that is expected to be of long-continued and indefinite duration,
                                                                                                                                        substantially impedes his/trer
                   abiliry to live independently; and is of such a nature that the abiliry- to live indipendently could be improved by more
      -     -      conditions.
                                                                                                                                            suitable housing


3'                      adev-elopmental disability as defined in Section 102(7) of &e Developmental Disabilities Assistance and Bill
                   Ig                                                                                                                         of Nghts Act 42 U.S.C.
                   6001(8))' i.e', a person rvith a severe chronic disability that is atkibutable t,o a mental or physical impairment or combination
      -     -      physical impairments; is manifested before the person attains age 22; is likely to continul
                                                                                                                                                         of menral and
                                                                                                                   inAefrnitety; results in substantial functional
                   limitation in threl-olmore of the lollowing areas of major life activity: l) seif-care, 2) receptive and expressive tanguage, 3) teaming,
                   4) mobility, 5) self-direction, 6) oapacity for independent living and 7) economic seli-sufrrciency;
                                                                                                                             and ieflects the ien-on,s need for a
                   combination and sequence ofspecial, interdisciplinary, o. genJric ca.", ueatm"nt, or other services that are
                                                                                                                                      oflifelong or extended duration
                   and are individually planned and mordinated.

4'-                Isapersonwhosedisabilityisbasedsolelyondrugoralcoholdependence(hasnootherdisabilitywhichmeetstheabovedefinition).

Diagnosis
            -(l)
                                                                                 Diagnosis: (2)

Diagnosis: (3)                                                                   Diagnosis; (4)



Print Name ana C
                                                                                                        Position Title and/or Organization Name



                                                                                                        Date

Applicant/Resident Consent for Release of Information: I hereby               authorize the release of the requested information. Information obtained
under this consent is Iimited to information that is no otder than l2 months. There
                                                                                     are circumstances that would require the orvner to verifi
information that is up to 5 years otd, which would be authorized by me on a separate consent
                                                                                                attached to a copy ofthis consent.




PENALTIES FOR MISUSING THIS CONSENT:                                 Title 18, Section l00l of the u.s. code states that a person is guilty of a fetony for knorvingty and
willinglymaliingfalscorfraudulentstatementstoanydepafimentoftheunitedstatcsGovemment.
                                                                                                        HUDandanyowner(oranycmployeeofl{UDorthcowner)may
besubjecttopenaltiesforunauthorizeddisclosuresoiimproperusesofinformationcollectcdbasedontheconsentform.
                                                                                                                             Useoftheinformationcollectedbasedonthis
verificationformisrestrictcdtothcpurposescitedabove. Anypersonwhoknorvinglyorwillinglyrequests,obtains,ordiscloscsanyinformationundcrfalsepretenscs
conceminganapplicantorparticipant-maybesubjecttoamisdemeanorandtinedn;imorett.-Ss,oob.
                                                                                                              nnyrppri.aniorparticipantaffcctedbynegligentdisclosure
of information-may bring civil action for Aamageiand seek other relief, as ,uy u.
unauthoriz:d. disclosure or improper use. Penalty provisions for misusing
                                                                                     ripropriut., uguinst 0,.  oifidi;;;l;;re     of HUD or the owner responsible for the
                                                                            the sociatlJcurity number are contained in rhi social security Act at 42 u.s.c. 20ga (6), (z)
and (8) violation of these provisions are cited as viorations of 42 u.s.c:4osa
                                                                                  rel,   izj   ;irb).
                  E
                      rc
9E?=              @
                       D
^-P
             -
XHS               E
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 PO BOX 5093
                                                                                                                                  gAr&r
 CAROL STREAM IL 60197.5093


 01t27t2018


 SHAKA ZULU
 661 E 69TH
 cHtcAco,tL 60637                  4175


 Dear SHAKA ZULU:

Thank you for applying for AT&T communications, entertainment, or Digital Life services.

As of 09/1912017 , your AT&T credit score was: 635.

AT&T utilizes a proprietary credit rating system that creates a score based on information derived from your credit history
as supplied by the consumer reporting agency listed below. Your AT&T credit score is unique to AT&f and is not related
to scores commonly supplied by credit reporting agencies. Your credit score can change and credit scores range from
001 to 999. The credit score values are established based upon comparative analyses of repayment histories of large
numbers of customers.

Key factors affecting your AT&T credit score include:
                .            No factors were provided by consumer reporting agency

Based in part on an assessment of your credit history, we imposed certain conditions or restrictions on your service
request, which may have included limiting and/or denying the purchase of produets and/or services, or requiring a deposit
or advance payment.

ln making our decision, we received information from the credit bureau listed below. The credit bureau did not make the
above decision and is unable to provide you the specific reasons for the above decision.

Under the Fair Credit Reporting Act, you have the right to obtain a copy of your credit report at no charge if you contact
the credit bureau listed below within sixty (60) days from the date of this letter. You also have the right under the Federal
Credit Reporting Act to dispute with the credit bureau the accuracy or completeness of any information in the report.




             Equifax                                     Exchange Service Center
             PO Box 74A241                              PO Box 105161
             Atlanta, GA3O374-0241                      Atlanta, GA 30348-5398
             800-685-1111                                866-343-2821



Once again, thank you for applying for AT&T communications or entertainment services; we appreciate the opportunity to serve you

Slncerely,

AT&T Mobility

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